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12
                                 UNITED STATES DISTRICT COURT
13
                              NORTHERN DISTRICT OF CALIFORNIA
14
                                       SAN FRANCISCO DIVISION
15

16
       HUI MA, AILING ZHAO, XI LIU,                             Case No.: _____________________
17     YIXUAN WANG, and RUI ZHANG,
                                                                COMPLAINT FOR DAMAGES,
18                          Plaintiffs,                         RESTITUTION, AND OTHER
                                                                APPROPRIATE EQUITABLE
19     v.                                                       RELIEF

20     GOLDEN STATE RENAISSANCE                                 – JURY TRIAL DEMANDED
       VENTURES, LLC, dba Golden Gate
21     Global, a California Limited Liability                              CLAIMS FOR RELIEF
       Company; GSRV MANAGEMENT, LLC,                                1. FRAUDULENT INDUCEMENT – against
22     a California Limited Liability Company;                          all Defendants
       GSRV-VTI MANAGEMENT, LLC, a
23     California Limited Liability Company;                         2. BREACHES OF FIDUCIARY DUTIES
       ERIC CHELINI, an individual; STEVEN                              OWED BY LLC MANAGERS (Cal. Corp.
24     KAY, an individual; and VERTEBRAL                                Code § 17704.09) – against all
       TECHNOLOGIES, INC., a Minnesota                                  Defendants (direct liability and/or
25     corporation,                                                     aiding and abetting liability)

26                        Defendants.                                3. BREACHES OF FIDUCIARY DUTIES
                                                                        OWED BY GENERAL PARTNERS (Cal.
27                                                                      Corp. Code § 16404) – against all
                                                                        Defendants (direct liability and/or
28                                                                      aiding and abetting liability)
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                                  1                                                                    4. CONSTRUCTIVE FRAUD – against
                                                                                                          GSRV-VTI Management, LLC, and all
                                  2                                                                       other GSRV Defendants as alter egos
                                  3                                                                    5. FRAUDULENT CONCEALMENT –
                                                                                                          against GSRV LLC, GSRV
                                  4                                                                       Management, LLC, the Individual
                                                                                                          GSRV Defendants, and VTI
                                  5
                                                                                                       6. CONVERSION – against all Defendants
                                  6
                                                                                                       7. VIOLATION OF MINNESOTA’S
                                  7                                                                       VOIDABLE FRAUDULENT TRANSFERS
                                                                                                          ACT (Minn. Stats. Ann. §§ 513.44–
                                  8                                                                       513.45) – against VTI
                                  9                                                                    8. VIOLATION OF CALIFORNIA’S UNFAIR
                                                                                                          COMPETITION LAW (Cal. Bus. &
                               10                                                                         Profs. Code § 17200 et seq.) – against
                                                                                                          the GSRV Defendants
                               11
                                                                                                       9. FAILURE TO PROVIDE DOCUMENTS
                               12                                                                         AND ACCOUNTING – against GSRV-
                                                                                                          VTI Management, LLC and VTI
                               13
                                                                                                       [DEMAND FOR JURY TRIAL]
                               14

                               15

                               16            Plaintiffs HUI MA, AILING ZHAO, XI LIU, YIXUAN WANG, and RUI ZHANG

                               17     (collectively “Plaintiffs”), by and through their undersigned counsel, allege as follows:

                               18

                               19                                          NATURE OF THE CASE

                               20            1.      Plaintiffs are individual citizens of China. They had hoped to immigrate to the

                               21     United States and become permanent U.S. residents through the EB-5 Immigrant Investor

                               22     Program (“EB-5 Program”) administered by the United States Citizenship and Immigration

                               23     Services (“USCIS”).

                               24            2.      Each Plaintiff made a $540,000 cash payment — $500,000 in capital investment,

                               25     with the additional $40,000 to pay certain “fees” — to invest in a purported “commercial

                               26     enterprise” (“GSRV-VTI” or “the Project”), which Defendants had jointly promoted to Plaintiffs,

                               27     and which was supposed to be managed by Defendants in concert under the sponsorship of a

                               28     USCIS-designated “regional center.”

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                                  1           3.      This regional center is, and at all relevant times has been, owned by Defendant
                                  2   Golden State Renaissance Ventures, LLC (“GSRV LLC” or “the Regional Center”). GSRV LLC
                                  3   operates the regional center, and the center’s various investment projects, through a series of
                                  4   interrelated entities, which are alter egos of one another.
                                  5           4.      The asserted purpose of the Project was to develop the manufacturing capacity of
                                  6   Defendant and medical device manufacturing company Vertebral Technologies, Inc. (“VTI”) in
                                  7   the San Jose, California area.
                                  8           5.      At all relevant times, federal law has required that the Regional Center manage its
                                  9   projects and report any significant changes to USCIS.
                               10             6.      The vehicles created for Plaintiffs’ investments in the GSRV-VTI Project were
                               11     ownership shares in one of two investment funds (collectively, “the Project Funds”): GSRV-VTI,
                               12     LP, established in February 2010 (the “Investor LP”), and GSRV-VTI II, LLC, established in
                               13     December 2014 (the “Investor LLC”). In total, twelve EB-5 investors subscribed to the Investor
                               14     LP (“Phase I Investors”), and four EB-5 investors subscribed to the Investor LLC (“Phase II
                               15     Investors”).1 (Copies of the form subscription agreements for each Project Fund are attached as
                               16     Exhibits A and B to this Complaint.)
                               17             7.      Plaintiffs and the Project Funds’ other investors did not have any management or
                               18     oversight authority over the Project or the Project Funds.
                               19             8.      The capital contributions from the Project’s EB-5 investors were used to purchase
                               20     VTI “Class B preferred” stock, which VTI had issued for the purpose of raising EB-5 capital,
                               21     pursuant to a Stock Purchase Agreement between VTI and the Project Funds.
                               22             9.      Under the express terms of the Stock Purchase Agreement, VTI could only use its
                               23     EB-5 funds for specific purposes consistent with the GSRV-VTI Project, as it had been promoted
                               24     to the EB-5 investors and USCIS.
                               25             10.     Yet VTI used its EB-5 capital for entirely other purposes. It has no remaining EB-
                               26     5 funds left.
                               27
                                      1 Plaintiffs Ma, Wang, and Zhao are limited partners of GSRV-VTI, LP; Plaintiffs Liu and Zhang
                               28
                                      are non-managing members of the GSRV-VTI II, LLC.

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                                  1            11.    VTI is in fact now running out of funds entirely. To make matters worse, VTI has
                                  2   started to authorize transfers improperly disposing of its only remaining assets of value, its
                                  3   intellectual property, in favor of its directors. Then VTI sought to obtain more money from
                                  4   Plaintiffs under false pretenses.
                                  5            12.    The substantial sums Plaintiffs entrusted to Defendants often amounted to virtually
                                  6   everything Plaintiffs had or could obtain by mortgaging their homes or anything else they had of
                                  7   value.
                                  8            13.    This outcome could have been avoided at multiple points. But for several years,
                                  9   the Regional Center and the related GSRV Defendants appear to have exercised no oversight
                               10     whatsoever, or even shown any interest, as to VTI’s operations, despite ostensibly serving as
                               11     Plaintiffs’ fiduciaries. Worse, the GSRV Defendants withheld and concealed from Plaintiffs
                               12     material information that they did know in order to protect their own interests to the detriment of
                               13     Plaintiffs.
                               14              14.    Most recently, Plaintiffs demanded that their investments be returned and that
                               15     Defendants provide them with access to financial records and other documents to which they are
                               16     entitled by law. Defendants have largely ignored Plaintiffs’ demands.
                               17

                               18                                         JURISDICTION AND VENUE
                               19              15.    Subject Matter Jurisdiction. This Court has jurisdiction over this case under 28
                               20     U.S.C. § 1332(a)(2). The amount in controversy exceeds $75,000, and the dispute is between
                               21     “citizens of a State and citizens or subjects of a foreign state”: Plaintiffs are all foreign citizens,
                               22     while Defendants are all citizens of California, Minnesota, or another U.S. state.
                               23              16.    Venue. This Court is a proper venue in which to bring this action under 28 U.S.C.
                               24     §1391(b)(2), as a substantial part of the events giving rise to Plaintiffs’ claims occurred in this
                               25     district. Moreover, a forum selection clause applicable to part of Plaintiffs’ claims provides that
                               26     those claims “shall be prosecuted exclusively in the state or federal courts residing in San
                               27     Francisco, California.” (See, e.g., Ex. B, GSRV-VTI II, LLC Subscription Agreement, § 16(c).)
                               28

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                                  1   Cf. 28 U.S.C § 1404(a). In the alternative, venue is also proper pursuant to 28 U.S.C.
                                  2   §1391(b)(3).
                                  3           17.        Intradistrict Assignment. Because of the forum selection clause quoted in the
                                  4   previous paragraph, this matter should be assigned to the Court’s San Francisco Division.
                                  5

                                  6                                                   THE PARTIES
                                  7                                                        Plaintiffs
                                  8           18.        Plaintiffs are individual Chinese citizens.
                                  9           19.        None of the Plaintiffs is a permanent resident of a U.S. state.
                               10                                                        Defendants 2
                               11             20.        All of the named Defendants are citizens and/or permanent residents of at least one
                               12     U.S. state.
                               13             21.        Defendant GOLDEN STATE RENAISSANCE VENTURES, LLC, dba Golden
                               14     Gate Global3 (“GSRV LLC” or “the Regional Center”) is a California Limited Liability Company
                               15     (“LLC”). GSRV LLC owns the USCIS-designated regional center for participation in the EB-5
                               16     Program. In addition, GSRV LLC was the General Partner of GSRV-VTI, LP until around early
                               17     2016.
                               18                   a.      Filings with the California Secretary of State provide that GSRV LLC’s
                               19                           current address is One Sansome Street, Suite 2080, San Francisco CA 94104,
                               20                           and that its agent for service of process is Steven Kay. All members of GSRV
                               21                           LLC are California residents, corporations with a permanent place of business
                               22                           in California, and/or other entities composed of residents of California or at
                               23                           least one other U.S. state.
                               24

                               25

                               26     2 All allegations regarding Defendants’ citizenship and/or state of residence are made upon
                                      reasonable information and belief.
                               27
                                      3 GSRV LLC has previously    operated under other fictitious business names, including “San
                               28
                                      Francisco Bay Area Regional Center”/“SFBARC” and “FFC-East Bay Regional Center.”

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                                  1          22.        Defendant GSRV MANAGEMENT, LLC (“GSRV Management”) is a California
                                  2   LLC, created in 2011 to serve as GSRV’s manager.
                                  3                a.      Filings with the California Secretary of State provide that GSRV
                                  4                        Management’s current address is One Sansome Street, Suite 2080, San
                                  5                        Francisco CA 94104, and that its agent for service of process is Steven Kay.
                                  6                        Pursuant to GSRV Management’s Second Amended and Restated Operating
                                  7                        Agreement, Section 2.9, all GSRV Management members are required to be
                                  8                        California residents or corporations with a permanent place of business in
                                  9                        California, and members cannot be “foreign Person[s], as such term is defined
                               10                          in Regulations [26 C.F.R.] Section l.897-1(k).” Since 2011, GSRV and GSRV
                               11                          Management have had the same members.
                               12            23.        Defendant GSRV-VTI MANAGEMENT, LLC (the “Project Management LLC”)
                               13     is a California LLC. The Project Management LLC4 has always been the designated manager of
                               14     GSRV-VTI II, LLC. In addition, the Project Management LLC eventually replaced GSRV LLC
                               15     as General Partner of GSRV-VTI, LP.
                               16                  a.      Filings with the California Secretary of State provide that the current address
                               17                          of GSRV-VTI Management, LLC is 5 Bay Forest Place, Oakland CA 94611,
                               18                          and that its agent for service of process is Eric Chelini. Eric Chelini is also
                               19                          GSRV-VTI Management, LLC’s manager and sole member.
                               20            24.        Defendant ERIC CHELINI is an individual who resides in the State of California,
                               21     in Alameda County. Defendant Chelini founded the GSRV Regional Center. At all relevant
                               22     times, he managed GSRV-VTI Management, LLC, of which he is the sole member. He was also
                               23     a co-manager of GSRV Management until around November 2015.
                               24            25.        Defendant STEVEN KAY is an individual who resides in the State of California.
                               25     Defendant Kay is a licensed attorney in the State of California (State Bar Number 39197),
                               26
                                      4 The Project Management LLC has operated under its current name, “GSRV-VTI Management,
                               27     LLC,” since on or about December 19, 2014. The same entity was initially registered in 2010 as
                                      “Canton Fair West.” And before “GSRV-VTI Management, LLC,” the company’s name was first
                               28
                                      changed to “GSRV Overseas Marketing, LLC.”

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                                  1   practicing out of San Francisco County. Defendant Kay is, and at all relevant times was, a
                                  2   member of GSRV and a controlling member and manager of GSRV Management.
                                  3           26.     As explained further below, although GSRV LLC, GSRV Management, LLC and
                                  4   GSRV-VTI Management, LLC were nominally established as three distinct entities, in reality, no
                                  5   GSRV entity exists independently from the GSRV Regional Center or Defendants Chelini and
                                  6   Kay (Defendants Chelini and Kay may be referred to collectively as “the individual GSRV
                                  7   Defendants”). Plaintiffs thus contend that in fact, each and all of the GSRV Defendants have, at
                                  8   all relevant times, been alter egos of one another. In this Complaint, the GSRV Defendants are
                                  9   therefore also referred to, collectively, simply as “GSRV.”
                               10             27.     Defendant VERTEBRAL TECHNOLOGIES, INC. (“VTI”) is, and at all times
                               11     relevant here was, a privately held Minnesota corporation with its principal place of business in
                               12     Minneapolis, Minnesota. VTI additionally owns and operates facilities in Santa Clara County,
                               13     California.
                               14

                               15                                        FACTUAL ALLEGATIONS
                               16        I.         The EB5 Program
                               17             28.     The United States Congress created the Immigrant Investor Program, also known
                               18     as the “EB-5 Program,” in the 1990s to stimulate the U.S. economy through job creation and
                               19     capital investment by foreign investors. The EB-5 Program is administered by the United States
                               20     Citizenship and Immigration Services (“USCIS”).
                               21             29.     The EB-5 Program has become the largest immigrant investor program in the
                               22     world. (Jennifer M. Roscoe, The Changing Landscape of Immigrant Investment Programs at 2
                               23     (CRS No. IF11344) (Oct 25, 2019), https://crsreports.congress.gov/product/pdf/IF/IF11344.)
                               24     “According to the latest U.S. Commerce Department assessment (2017), an estimated 174,039
                               25     U.S. jobs were created by $16.7 billion total investment ($5.8 billion in direct EB investment
                               26     capital) in FY2012 and FY2013.” (Id.)
                               27             30.     The Program offers EB-5 visas to foreign individuals who make an at-risk
                               28     investment of at least $1 million in a new commercial enterprise — or $500,000 if the new

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                                  1   commercial enterprise is located in a rural area or an area of high unemployment — that creates
                                  2   or preserves at least 10 full-time jobs for qualifying U.S. workers. (See generally
                                  3   https://www.uscis.gov/working-in-the-united-states/permanent-workers/employment-based-
                                  4   immigration-fifth-preference-eb-5/about-the-eb-5-visa-classification.)
                                  5          31.     For a foreign applicant, the EB-5 Program has two critical steps. First, the
                                  6   applicant must submit to USCIS an “I-526 petition.” If this first petition is approved, the
                                  7   applicant is granted conditional permanent resident status. The second step, when the applicant
                                  8   submits an “I-829 petition,” determines whether the conditions of the applicant’s immigration
                                  9   status will be removed. At this second stage, applicants face a considerable burden. What follows
                               10     are just some examples of what applicants are required to prove in order for USCIS to approve
                               11     their I-828 petitions: there has been no “material change” in the business plan or business
                               12     operation of the economic enterprise that received the investor’s money during the first 24
                               13     months following the approval of the investor’s I-526 petition; the economic enterprise created 10
                               14     full-time jobs within 24 months of the approval of the investor’s I-526 petition; and the investor
                               15     “sustained” his or her investment in job creating activities for at least 24 months following the
                               16     approval of the investor’s I-526 petition.
                               17            32.     EB-5 investments are overwhelmingly administered by entities called “regional
                               18     centers,” designated by USCIS to administer the EB-5 investment projects based on proposals for
                               19     promoting economic growth, and through which EB-5 applicants may pool their investments.
                               20     (See, e.g., U.S. Government Accountability Office, Immigrant Investor Program: Additional
                               21     Actions Needed to Better Assess Fraud Risks and Report Economic Benefits at 3 (GAO-16-431T)
                               22     (Feb. 11, 2016) [hereinafter “GAO Report”], https://www.gao.gov/assets/680/675138.pdf (“In
                               23     fiscal year 2014, the maximum number of visas available were allocated for the EB-5 Program—
                               24     approximately 10,000 annually, with about 95 percent of the investments in regional center
                               25     projects.”).) A regional center is defined as “any economic unit, public or private, which is
                               26     involved with the promotion of economic growth, including increased export sales, improved
                               27     regional productivity, job creation, and increased domestic capital investment.” 8 C.F.R. §
                               28     204.6(e) (2015).

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                                  1          33.     Each regional center designated by USCIS must monitor and oversee all
                                  2   investment offerings and activities associated with, through or under the sponsorship of the
                                  3   regional center. The failure of an associated “commercial enterprise” to comply with all laws and
                                  4   regulations related to such investment offerings and activities may result in the issuance by
                                  5   USCIS of a notice of intent to terminate the Regional Center designation.
                                  6          34.     In addition, USCIS-designated centers must comply with various reporting
                                  7   requirements in order to remain in good standing. Among other things, they must promptly notify
                                  8   USCIS of any material change in the management, administration, or structure of the regional
                                  9   center; any material change regarding the relevant point of contact information for the regional
                               10     center; and any material change affecting any investment project that is made through, in
                               11     association with, or under the sponsorship of the regional center.
                               12            35.     Regional center investment vehicles are typically offered as limited partnership
                               13     interests or limited liability company units, which are managed by a person or entity other than
                               14     the foreign investor and acts as a general partner or managing member of the investment vehicle.
                               15     The subscription price for the interests/units commonly includes various fees on top of the
                               16     investor’s capital contribution.
                               17            36.     The volume of EB-5 applications eventually led to a severe backlog and increasing
                               18     delays in USCIS’s review and determinations of foreign investor applications. By 2013, this
                               19     problem had become well-known and was widely considered a matter of pressing concern among
                               20     EB-5 industry professionals.
                               21            37.     USCIS and the U.S. Securities and Exchange Commission (“SEC”) are aware of
                               22     investment scams targeting foreign nationals who seek to become permanent lawful U.S.
                               23     residents through the EB-5 Program. (See, e.g., U.S. Securities and Exchange Commission,
                               24     Investor Alert: Investment Scams Exploit Immigrant Investor Program (Oct. 1, 2013),
                               25     https://www.sec.gov/oiea/investor-alerts-bulletins/investor-alerts-ia_immigranthtm.html.) “The
                               26     amount of investment required to participate in the EB-5 Program, coupled with the fact that
                               27     investors are making an investment in order to obtain an immigration benefit (i.e., green card),
                               28     can create fraud risks tied to regional center operators and intermediaries.” (GAO Report at 8.)

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                                  1      II.         General Background Regarding the GSRV Regional Center
                                  2            A.       Founding
                                  3            38.      GSRV LLC was founded by Eric Chelini in 2007.
                                  4            39.      USCIS designated GSRV LLC as a regional center for participation in the EB-5
                                  5   Program in 2009.
                                  6            40.      The GSRV LLC operating agreement was amended in 2011 when several new
                                  7   individuals joined Defendant Chelini as its members. Most significantly, among the new
                                  8   members who joined in 2011 was Defendant Steven Kay.
                                  9            41.      At the same time, the new members of GSRV LLC collectively formed GSRV
                               10     Management, LLC, a distinct entity that was intended to serve nominally as the manager of the
                               11     original GSRV entity and to provide an additional corporate layer insulating GSRV’s individual
                               12     members from liability.
                               13              42.      Defendants Chelini and Kay became co-managers of the Regional Center’s new
                               14     “Management, LLC.”
                               15              43.      At all times since GSRV Management was formed, all members of the Regional
                               16     Center have been members of both companies. Defendant Kay has at all times retained a
                               17     controlling ownership interest of GSRV Management, with his ownership share in fact growing
                               18     over time.
                               19              44.      Beginning in 2011, GSRV Management, and by extension, GSRV LLC, were co-
                               20     managed by Defendants Kay and Chelini.
                               21              45.      Brief Background Regarding Eric Chelini. As represented in the marketing
                               22     materials provided to Plaintiffs, Defendant Chelini has over 20 years’ experience in various
                               23     backgrounds including “management in operations, accounting, finance, information technology,
                               24     and legal arenas, project management, and entrepreneurial roles,” and several professional
                               25     designations, including “Certified Six Sigma Greenbelt,” and “Certified Scrum Master.”
                               26     Defendant Chelini is also married to an attorney.
                               27              46.      Brief Background Regarding Steven Kay. Defendant Kay is a transactional
                               28     attorney licensed to practice in the state of California. He has extensive experience with private

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                                  1   equity ventures, real estate and business transactions, and estate planning. In addition to owning
                                  2   and controlling most of the GSRV operations, Defendant Kay is a Managing Partner at Urbanite
                                  3   Capital, LLC, which operates as a real estate private equity firm. He is also a founding member
                                  4   and/or manager of multiple other real estate investment, business consulting, management, or
                                  5   similar LLCs. Examples of such entities include: SK Associates #1 LLC; SK Associates #2 LLC;
                                  6   Steven Kay Enterprises, LLC; Steven Kay and Associates LLC; Golden Ventures Capital
                                  7   Management, LLC; Golden VC Management, LLC; GVC Stacked Equity Fund, LLC; Golden
                                  8   Wealth Management Group, LLC; Halic Capital Management, LLC; W K Investment Group;
                                  9   Kay Napa Investments, LLC; and KJ FF Holdings, LLC. Furthermore, Defendant Kay is
                               10     involved in various partnerships and trusts.
                               11            47.     A few years after Defendant Kay and the other new members joined GSRV
                               12     (Regional Center and Management LLC), GSRV apparently underwent some changes in
                               13     ownership and management overall. To the extent relevant, those changes are discussed later in
                               14     this Complaint.
                               15

                               16            B.      The Services Provided by GSRV
                               17            48.     GSRV’s Chief Executive Officer in October 2017 summed up what the Regional
                               18     Center does in the following terms: “[W]e provide kind of soup to nuts services for funds or
                               19     projects that are looking for EB-5 financing.”
                               20            49.     Rather than promote any job-creating projects itself, the GSRV Regional Center
                               21     offers to help other parties, GSRV’s “project partners,” who are seeking funds for labor-intensive
                               22     projects; specifically, it offers to help them obtain funds sourced through the EB-5 Program.
                               23            50.     The assistance that the Regional Center purports to offers its project partners
                               24     centers around a few key tasks: (1) collaborating in the development of a business proposal likely
                               25     to meet USCIS’s criteria for EB-5 investments; (2) identifying potential foreign investors and
                               26     securing their investments; (3) carrying out all necessary steps to ensure the actual transfer of said
                               27     investors’ EB-5 funds, including by forming and managing an investment fund for each new
                               28     commercial project; and (4) managing USCIS reporting and other compliance requirements.

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                                  1          51.        At the beginning of every project, GSRV’s only client is its project partner.
                                  2          52.        Due to GSRV’s use of limited partnerships and LLCs as the investment vehicles
                                  3   for the projects its sponsors, however, once foreign investments have been secured, GSRV
                                  4   becomes a fiduciary of the project’s foreign investors as a matter of law.
                                  5          53.        Moreover, as a USCIS-designated regional center, GSRV is required to monitor
                                  6   and manage the progress of the project and report to USCIS any material changes to the project.
                                  7          54.        Despite this apparent tension, GSRV’s operations have continued to expand,
                                  8   through parallel multi-tiered structures. To date, the Center has sponsored at least a dozen
                                  9   different “new commercial enterprises.”
                               10            55.        Meanwhile, the Center’s operations have proven quite lucrative for its members,5
                               11     particularly considering the relatively passive role that the Regional Center plays in practice in
                               12     running its many projects.
                               13

                               14            C.         GSRV’s Structure and Operations
                               15                       1. A Complex, Multi-Tiered Construct
                               16            56.        GSRV generally purports to operate according to the following structure.
                               17            57.        Central Operations. GSRV LLC owns and operates the regional center designated
                               18     by USCIS for participation in the EB-5 Program. GSRV LLC is managed by GSRV
                               19     Management. And GSRV Management is managed by Steven Kay and/or another of the
                               20     individual members of GSRV LLC and GSRV Management.
                               21            58.        Operations of Regional-Center-Sponsored Projects. For each project sponsored
                               22     by the regional center:
                               23                  a.      GSRV creates a distinct, limited liability entity (or, occasionally, more than
                               24                          one) to serve as the project’s investment fund, i.e., the vehicle through which
                               25                          EB-5 applicants will invest in the project (the “project fund,” or “project
                               26                          investor fund”).
                               27
                                      5 For example, by the end of April 2014, GSRV expected to “have plenty of money plus a healthy
                               28
                                      reserve to make [a] $100k equity distribution.” (Ex. D at 44.)

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                                  1                b.       GSRV additionally forms a separate LLC, ostensibly to manage the project
                                  2                         fund (the “fund management LLC”).
                                  3          59.        Now, the members of a project’s fund management LLC are typically also the
                                  4   same members who own the Regional Center and GSRV Management.
                                  5                     2. A Single Enterprise in Reality
                                  6          60.        The numerous different GSRV affiliate entities through which the Regional Center
                                  7   appears to operate exist only on paper.
                                  8          61.        At least as to Defendants GSRV LLC and GSRV Management LLC, this
                                  9   conclusion is supported by the following findings, which were made in the disposition of related
                               10     proceedings 6:
                               11                       [T]he evidence indicates . . . that the formation of LLCs was a tool to try to
                               12                       protect members from individual liability and then, later . . . to try to bring
                               13                       accounting respectability and conventional accounting practices into what
                               14                       was, in essence, one integrated business . . . .
                               15

                               16                       GSRV operated in fact, as it had to, as USCIS required. None of the
                               17                       management LLCs had any employees. None had any separate office space
                               18                       or equipment None of the Fund LLCs had any employees. None owned or
                               19                       leased any separate office space or any equipment. Literally every shred of
                               20                       work that was done pursuant to GSRV’s EB-5 license was done by GSRV
                               21                       employees, in GSRV space, and on GSRV equipment — or was outsourced,
                               22                       by GSRV employees to entities selected by those employees. There was no
                               23

                               24
                                      6 These findings were part of a final award order entered in the matter of Golden State Renaissance
                               25
                                      Venture LLC, et al., v. Judy Chu (JAMS Case Ref. No1100085319). The final award was then
                               26     attached to the judgment entered in proceedings in the California Superior Court for the County of
                                      San Francisco, Judy Chu v Steven Kay et al. (Case No. CGC-16-553982). [The judgment and the
                               27     orders attached to the judgment are attached as Exhibit D to this Complaint.] Both matters arose
                                      from an internal GSRV dispute. To the extent relevant, this dispute and the related proceedings are
                               28
                                      discussed in more detail later in this Complaint.

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                                  1                        functional or operational separate reality to any of the ‘affiliated’ entities.
                                  2                        They existed in form only.
                                  3                        The centrality and exclusivity of GSRV’s role in its projects was mandated
                                  4                        by USCIS’ aggressive demands that GSRV exercise complete control over,
                                  5                        and assume full responsibility for, the activities authorized by the one license
                                  6                        USCIS had issued. Moreover, it may well be that it was the intensity of a
                                  7                        commitment to satisfy these demands that drove Mr. Kay to be so heavily
                                  8                        involved — and to seek, through the amendments, the full control of the
                                  9                        affiliated entities and their operations that fulfilling GSRV’s responsibilities
                               10                          to USCIS seemed to require. Responsibility turns on authority.
                               11     [Ex. D at 41–43.]
                               12               62.        The Defendants to which the above findings do not expressly apply are
                               13     nonetheless equally part of a single GSRV enterprise for several reasons.
                               14               63.        For example, like in the above-quoted findings, the Project Management LLC here
                               15     has “no functional or operational separate reality” and operates under the Regional Center’s
                               16     control. The LLC’s only capital or assets appear to be a $100 initial contribution from Defendant
                               17     Chelini. The company, therefore, cannot operate independently. Further, the GSRV-VTI Project
                               18     was, and to the best of Plaintiffs’ knowledge, is still now a project administered under the USCIS
                               19     designation for the GSRV Regional Center. As such, the Project must necessarily be under
                               20     GSRV’s centralized control and responsibility, just like any other of the Regional Center’s
                               21     projects.
                               22               64.        Moreover, the Regional Center and the Project-specific entities are frequently
                               23     conflated in communications with third parties — including, most importantly, in
                               24     communications with the Project’s existing and/or potential EB-5 investors. Some examples
                               25     follow:
                               26                     a.      Marketing materials provided to investors, such as those reproduced in Exhibit
                               27                             C to this Complaint, refer repeatedly “GSRV” and “the Regional Center” but
                               28

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                                  1                           only mentions “GSRV-VTI, LP” a couple of times, and never with any
                                  2                           meaningful explanation.
                                  3                   b.      The Private Offering Memorandum and Subscription Agreement provided to
                                  4                           potential Phase I investors stated that, upon release from escrow, investors’
                                  5                           capital contributions would be transferred to the Investor LP. But other
                                  6                           documents indicated that those funds would be transferred to GSRV LLC.
                                  7                           Examples of such other documents include: the escrow instructions provided to
                                  8                           subscribers to the Partnership Fund; and the Escrow Agreement executed by
                                  9                           the designated escrow agent and by both Defendant Chelini and Defendant
                               10                             Kay on behalf of GSRV LLC.
                               11               65.        Ultimately, the convoluted structure under which GSRV purports to operate serves
                               12     mostly to frustrate federal immigration law and policy, as administered through the EB-5
                               13     Program; to facilitate and incentivize deceptive and fraudulent conduct by individuals who fully
                               14     own, control, and profit from the means of their fraud and deception; and accordingly to hinder
                               15     the enforcement of public laws. Plaintiffs contend that all the GSRV Defendants are properly
                               16     treated as mere alter egos of one another and may refer to all GSRV Defendants collectively
                               17     simply as “GSRV.”
                               18

                               19        III.         The GSRV-VTI Project’s Capital Raise
                               20               A.         The Product of Years of Collaboration Between VTI and GSRV
                               21               66.        The GSRV-VTI Project, which started around 2010, was among the Center’s first
                               22     projects, and USCIS approved an amendment to the Center’s designation so as to cover the
                               23     GSRV-VTI Project in May 2011.
                               24               67.        GSRV and VTI collaborated for several years to raise capital for the Project.
                               25     (Some years later, VTI suggested that it had not expected that it would have to wait as long as it
                               26     did for EB-5 funds to become available.)
                               27               68.        Among other things, Defendants worked together to craft and later update the
                               28     Project’s business proposal for USCIS. This business proposal, which was also shared with

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                                  1   investors, was revised at least twice, once in or around September 2012, and again in or around
                                  2   April 2014.
                                  3          69.     Marketing materials promoting the Project to potential investors drew on
                                  4   information from both VTI and GSRV. In projecting GSRV-VTI’s success, these materials relied
                                  5   in significant part on the supposedly established strengths of both VTI and GSRV, such as VTI’s
                                  6   past financial performance and growth — including, for example, repeated references to VTI’s
                                  7   43% average growth in 2012 (Ex. C at 5, 7, 20–21) — and the credentials and experience of VTI
                                  8   and GSRV management.
                                  9          70.     Defendants further collaborated to obtain third-party reports supporting the
                               10     Project. One example, referenced in the marketing materials, is the report prepared in 2012, and
                               11     ostensibly updated in 2014, by GSRV-partner Beacon Economics, and paid for by VTI.
                               12            71.     In these and in all other documents prepared by Defendants in connection with the
                               13     Project, Defendants consistently represented that investment funds would be used for the
                               14     Project’s asserted purpose: to develop VTI’s manufacturing production capacity resources in the
                               15     San Jose, California area.
                               16

                               17            B.      The Stock Purchase Agreement
                               18            72.     Defendants also negotiated a “Series B Preferred Stock Purchase Agreement” (the
                               19     “Stock Purchase Agreement”), which VTI and the Investor LP entered into as of June 28, 2013.
                               20     The Stock Purchase Agreement was later amended to add the Investor LLC as an additional party.
                               21            73.     Under the Stock Purchase Agreement, VTI agreed to issue up to 6,000,000 shares
                               22     of Series B Convertible Preferred VTI stock, which VTI would sell for $2.50 per share (for a total
                               23     potential investment of $15 million).
                               24            74.     Because the EB-5 program requires that investors/entrepreneurs create full-time
                               25     American jobs, Section 7.4 of the Stock Purchase Agreement, titled “Use of Proceeds” provided
                               26     as follows: “[VTI] plans to use the proceeds from the sale of shares of Series B Preferred to
                               27     [GSRV-VTI, LP] to invest in manufacturing production capacity resources in the San Jose,
                               28     California area. In support of the manufacturing activity, [VTI] will also develop sales and

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                                  1   marketing, as well as ancillary administrative support, to optimize manufacturing capacity. . . .”
                                  2   (Emphasis added.)
                                  3          75.     Section 7.5, titled “Covenant Regarding Proceeds” further added that “[VTI]
                                  4   shall use the proceeds received by [VTI] from the sale of the Series B Preferred Stock in
                                  5   accordance with Section 7.4 hereof.”
                                  6          76.     Section 3.3.2 of the Stock Purchase Agreement provided that VTI’s seven-member
                                  7   board of directors would include a “Series B Director,” who would be elected by holders of VTI’s
                                  8   Series B Preferred stock.
                                  9          77.     Section 4 of the Stock Purchase Agreement contained certain representations and
                               10     warranties made by VTI, including those that follow:
                               11                    a. “There is no action, suit or proceeding . . . pending, or, to [VTI’s] Knowledge,
                               12                         threatened against [VTI] . . . To [VTI’s] Knowledge, there are no facts which
                               13                         may reasonably be expected to result in or form the basis for any Proceeding.”
                               14                    b. “The Disclosure Schedule lists the following material agreements to which
                               15                         [VTI] is a party or by which it is bound: (i) each agreement which requires
                               16                         future expenditures by [VTI] in excess of $100,000 . . . (iii) each agreement
                               17                         with any member, shareholder, officer or director of the Company . . .
                               18                         requiring payments to, any such person or entity; (v) any loans or indebtedness
                               19                         for borrowed money, including guarantees thereof . . . [and VTI] has
                               20                         performed all obligations required to be performed by it to date and is not in
                               21                         default under any such agreement or contracts;”
                               22                    c. “[VTI] is not in violation of, or in default under any . . . agreement, instrument,
                               23                         commitment, [or] arrangement . . . to which it is a party or by which it is bound
                               24                         . . .”
                               25                    d. “The Agreement does not contain any untrue statement of a material fact or
                               26                         omits to state a material fact necessary in order to make the statements
                               27                         contained herein or therein, in light of the circumstances under which they
                               28                         were made, not misleading;” and

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                                  1                   e. “Except as set forth in the Disclosure Schedule, since [December 31, 2012],
                                  2                       there has not been . . . any adverse change in the assets, liabilities, financial
                                  3                       condition or operations of [VTI] from that reflected in the Financial Statements
                                  4                       . . . which, individually or in the aggregate, have not had or are not expected to
                                  5                       have a Material Adverse Effect,” a “resignation or termination of employment
                                  6                       of any key officers of [VTI],” any “material change, except in the ordinary
                                  7                       course of business, in the contingent obligations of [VTI]” or “any debt,
                                  8                       obligation or liability incurred, assumed or guaranteed . . . which, individually
                                  9                       or in the aggregate, have not had or are not expected to have a Material
                               10                         Adverse Effect on [VTI] . . . .”
                               11             78.     Section 6.1 of the Stock Purchase Agreement further provided that, as a condition
                               12     to the close on the purchase of Series B Preferred shares, “[t]he representations and warranties of
                               13     [VTI] under this Agreement shall be true in all material respects as of the applicable Closing Date
                               14     with the same effect as though made on and as of such date . . . .”
                               15             79.     Section 12.6 of the Stock Purchase Agreement provides that, “[s]hould suit be
                               16     brought to enforce or interpret any part of this Agreement, the prevailing party shall be entitled to
                               17     recover . . . reasonable attorneys’ fees to be fixed by the arbitration or the court[.]”
                               18             80.     As mentioned, following the creation of the Investor LLC, VTI entered into an
                               19     “Amendment One to Series B Preferred Stock Purchase Agreement” (the “Stock Purchase
                               20     Amendment”) with the Project Funds, to add the Investor LLC as a party to the agreement.
                               21             81.     Nothing in the Stock Purchase Amendment changed VTI’s obligations under
                               22     Sections 7.4 or 7.5 of the original Stock Purchase Agreement. VTI remained obligated to use the
                               23     EB-5 investments to create jobs in the San Jose area.
                               24

                               25             C.      Investor Payments to the Project Funds
                               26                     1. “Phase I” Investors Subscribe to GSRV-VTI, LP
                               27             82.     As mentioned, the Investor LP was originally formed in 2010.
                               28

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                                  1          83.     But it was only in 2014 that Plaintiffs Ma, Wang, and Zhao — and, Plaintiffs
                                  2   believe, almost all of the Partnership’s other twelve EB-5 investors 7 — subscribed to the
                                  3   Partnership, each paying $540,000 cash.
                                  4          84.     At the time, the “General Partner” of the Partnership Fund was identified as GSRV
                                  5   LLC itself. Around the end of 2015 or early 2016, the partnership agreement was amended to
                                  6   substitute the Project Management LLC as General Partner. As stated in the amended partnership
                                  7   agreement, this change became effective “as of January 15, 2015.”
                                  8          85.     The partnership agreement for the Investor LP provided that Plaintiffs and the
                                  9   other limited partners had no management authority, which was entirely vested in the General
                               10     Partner. Moreover, limited partners’ consent was only required for decisions such as changing
                               11     the identity of the General Partner, changing the General Partner’s liability, or changing the
                               12     limited partnership into a general partnership.
                               13            86.     The agreement further provided that the partnership was not required to hold
                               14     annual meetings. Meetings would thus only occur when called by the General Partner or by limi-
                               15     ted partners with a cumulative ownership interest of at least 10%. (Notably, no single limited
                               16     partner owned a 10% ownership interest. 8)
                               17            87.     Pursuant to the terms of the Private Offering Memorandum provided to Phase I
                               18     investors, any EB-5 capital contributed by an investor through the Investor LP had to be held in
                               19     escrow until that investor’s I-526 petition was approved by USCIS. When the investor’s capital
                               20     contribution was released from escrow, the funds and the interest they had generated would be
                               21     released to GSRV. At that point, GSRV ostensibly intended to use the investor’s capital
                               22     contribution to purchase VTI Class B Preferred stock, and keep the interest for itself.
                               23

                               24

                               25

                               26     7 It would seem that one of the Phase I investors likely subscribed long before all the others.


                               27     8 The partnership agreement additionally provided that “the General Partner will not provide any

                                      Limited Partner with the identity or address of any Limited Partner unless that Limited Partner
                               28
                                      consents to such disclosure.”

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                                  1          88.      Due to the considerable backlog previously mentioned affecting the processing of
                                  2   EB-5 applications, USCIS may not decide an applicant’s I-526 petition until several months, or
                                  3   even longer, after receiving it.
                                  4                   2. “Phase II” Investors Subscribe to GSRV-VTI II, LLC
                                  5          89.      In an effort to make EB-5 capital available for use in the Project more quickly,
                                  6   GSRV formed the Project’s second investment fund, i.e., the Investor LLC, in December 2014.
                                  7          90.      GSRV simultaneously “created” a distinct management LLC for the Project,
                                  8   GSRV-VTI Management LLC, by renaming (and presumably, repurposing) another affiliate
                                  9   LLC, which had existed under two different names before then.9 The Project Management LLC
                               10     was designated as the Manager of the Investor LLC.
                               11            91.      Membership interests in the Investor LLC were offered for purchase to potential
                               12     EB-5 investors between April 27 and July 14, 2015, when GSRV filed a related “Notice of
                               13     Exempt Offering of Securities,” commonly referred to as “SEC Form D,” with the SEC.
                               14            92.      As a result of this offering, four additional EB-5 investors (“Phase II investors”),
                               15     including Plaintiffs Liu and Zhang, entered agreements with GSRV to invest in the Project by
                               16     subscribing, this time, to the Investor LLC.
                               17            93.      Unlike with Phase I investments, the LLC subscription agreements did not require
                               18     that the full amount of each Phase II investor’s capital contribution be held in escrow until USCIS
                               19     decided his or her I-526 petition. Instead, the agreements provided that $100,000 from each
                               20     Phase II investor would be held back until the I-526 petitions of all Phase II investors had been
                               21     approved10, but that the rest of the Phase II investors’ capital contributions, i.e., $1.6 million,
                               22     would be released immediately.
                               23            94.      The terms of the Investor LLC’s operating agreement are substantively identical to
                               24     those of the Investor LP’s partnership agreement regarding investors’ lack of management or,
                               25     essentially, involvement of any kind in the operation of the Fund and the Project.
                               26
                                      9 See footnote 4 supra.
                               27
                                      10 The purpose of the funds in the “Holdback Escrow Account” was “to provide a source of funds
                               28
                                      with which to refund the Capital Contribution of a Denied Investing Member.”

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                                  1            D.       Close of the Stock Purchase Agreement
                                  2            95.      The Stock Purchase Agreement closed, in part, in November 2015. At that time,
                                  3   GSRV purchased $4.5 million of VTI Class B Preferred shares, purportedly using $2.5 million in
                                  4   Phase I investor funds, i.e., capital contributions from five of the twelve Phase I investors, as well
                                  5   as the full $2 million of capital contributions from Phase II investors.
                                  6            96.      GSRV purchased an additional $3 million of VTI Class B Preferred shares
                                  7   between April and July 2016.11
                                  8
                                  9      IV.         Defendants’ Numerous Material Misrepresentations and Omissions
                               10              A.       VTI’s Deteriorating Finances and Breaches of the Stock Purchase Agreement
                               11                       1. Materially Changed Circumstances Prior to Any Phase II Investor Subscription
                               12              97.      VTI has stated that at the end of 2014, it believed that the high revenue it had
                               13     enjoyed in 2014 indicated “a year of success for the company that left VTI in a strong financial
                               14     position after 2014.”12
                               15              98.      This belief was plainly misguided. In the first quarter of 2015 alone, VTI’s
                               16     revenue apparently decreased by 25%, and additional losses were anticipated.
                               17              99.      The VTI board of directors purportedly attributed VTI’s incorrect predictions to
                               18     statements made at the end of 2014 by the company’s CEO, Dr. Jeffrey C. Felt. By March 2015,
                               19     the board had voted to remove Dr. Felt as CEO.
                               20              100.     Also in March 2015, “[VTI] Management called an emergency BOD [board of
                               21     directors] meeting with current cash reserves down to only $10,000 against net cash operating
                               22     cash loss of over $185,000 per month in April 2015 and continued employee attrition.”
                               23              101.     At this meeting, “five BOD members agreed to provide emergency short-term
                               24     loans to keep the company operational and fund the company’s cash shortfall . . . predicated on
                               25

                               26     11 Plaintiffs believe that VTI received the capital contribution from one Phase I investor at some

                                      other time.
                               27
                                      12 All quoted excerpts in this Section IV.A are from VTI’s November 6, 2017 Internal Use of Funds
                               28
                                      Memorandum, which is discussed further in Section IV.C of this Complaint.

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                                  1   the immediate repayment upon receipt of EB-5 funds.” This condition to the loan agreements
                                  2   with these five directors required VTI to use EB-5 funds in violation of its preexisting obligations
                                  3   under Sections 7.4 and 7.5 of the Stock Purchase Agreement.
                                  4          102.    One of the directors who agreed to, and did, provide an emergency bridge loan to
                                  5   VTI was Dr. Felt — whose removal as CEO supposedly reflected the Board’s “concerns about
                                  6   [his] leadership.” Additionally, VTI already owed substantial sums to two other of these
                                  7   directors, Dr. Arnold Schwartz and John Graves, who had previously loaned the company
                                  8   roughly $2.1 million.
                                  9          103.    The terms of the emergency bridge loans from all five directors were nonetheless
                               10     approved by VTI’s board of directors.
                               11            104.    VTI received $330,000 from these five directors in March and April 2015.
                               12            105.    When Phase II investments were first offered in or around April 27, 2015, none of
                               13     the developments just described had been made known to potential investors, nor had they been
                               14     disclosed to the Project’s existing, Phase I investors.
                               15

                               16                    2. VTI’s Continuing Deterioration Prior to the Stock Purchase Agreement’s
                               17                        Initial Closing Date
                               18            106.    Beginning on or around May 1, 2015, a new CEO replaced Dr. Felt at the head of
                               19     VTI’s executive team.
                               20            107.    At that time, “VTI was in a severely compromised financial position with $8.4M
                               21     of Notes outstanding and in default, $482,000 of uncollectable loans . . ., declining sales from
                               22     consistent monthly surgeon customer loss, over 700 equity shareholders, no cash available to
                               23     grow the company, and the company having just seen an employee attrition rate of 36% in the
                               24     previous 9 months. Additionally, VTI had over $700k in A/P [accounts payable] owed to vendors
                               25     with 58% of the outstanding balance over 90 days. The A/P balance eventually swelled to $1M by
                               26     mid-July because of commitments made in 2014 and early 2015 in addition to continuing
                               27     operating losses.”13
                               28     13 See footnote 13, supra.


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                                  1           108.    VTI’s financial position worsened further over the next few months.
                                  2           109.    “On 9/30/15, VTI still had no indication of whether the USCIS would be
                                  3   approving the I-526 petitions for the EB-5 investors and was forced to make additional spending
                                  4   cuts, including laying off 22% of its employees and continued delaying investing in sales and
                                  5   marketing, replacing lost sales personnel, and fixing the inventory shortages the company had
                                  6   been operating under historically.”
                                  7           110.    When the Stock Purchase Agreement first closed in November 2015, none of the
                                  8   Project’s investors had been made aware of VTI’s continuous decline throughout the year until
                                  9   then.
                               10                     3. VTI’s Use of EB-5 Funds
                               11             111.    Funds used in 2015. VTI purportedly placed $1 million of the investor funds it
                               12     received in November 2015 in a restricted account, “to ensure the company could buy-back any
                               13     of the Phase II EB-5 investors’ shares if their I-526 petitions were denied.”
                               14             112.    As for the other $3.5 million EB-5 capital VTI received in 2015, VTI had used
                               15     nearly $2.5 million by the end of the calendar year, i.e., within less than two months from
                               16     receiving the money, in one of the two following ways.
                               17                a.      VTI used roughly $1.2 million for so-called “debt clean-up payments,” as
                               18                        follows:
                               19      Approx. $430,000       Payments on past-due accounts payable — including debts incurred as a
                               20                             result of VTI’s efforts to raise EB-5 capital, e.g., payments apparently
                               21                             owed to Beacon Economics; to Miller Mayer LLP, the Project’s so-
                               22                             called “special immigration counsel;” and even to GSRV-VTI, LP
                               23      Over $345,000          Repayments of the five VTI director emergency bridge loans —
                               24                             including over $15,000 in interest payments
                               25      Over $430,000          Other loan repayments — including another $140,000 paid to VTI
                               26                             Directors John Graves and Dr. Arnold Schwartz in interest accrued on
                               27                             loans they had made to VTI separately and in addition to the Spring 2015
                               28                             emergency bridge loans

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                                  1                b.      VTI used another $1.27 million that year to cover expenses related to its
                                  2                        existing operations.
                                  3           113.      In other words, none of the EB-5 funds that VTI spent in 2015 went toward
                                  4   expanding its manufacturing capacity in the San Jose, California region.
                                  5           114.      Funds used in 2016. Pursuant to an operating plan and budget that was approved
                                  6   by the VTI board of directors on December 11, 2015, VTI spent another $3.76 million on
                                  7   operating expenses in 2016. Only a minuscule fraction of those expenses was allocated toward
                                  8   manufacturing in California, where a single full-time machinist was staffed. It is unclear whether
                                  9   even that money actually went to the GSRV-VTI Project and its designated San Jose area, as VTI
                               10     also has facilities in Santa Clara, California.
                               11             115.      Funds used in 2017. Pursuant to directives given by VTI’s board of directors as
                               12     early as December 2016 — directives, which ran contrary to the very purpose of the Project and
                               13     the terms of the Stock Purchase Agreement, and which disregarded the “direction [that VTI]
                               14     Management believed best for the company” — VTI’s 2017 budget aimed to reduce capital
                               15     expenditures. Yet in 2017, VTI spent at least another $945,000 of funds sourced from Project
                               16     investor on operating expenses.
                               17             116.      Having thus spent over $7.1 million of EB-5 investor-sourced funds in two years
                               18     — and almost nothing toward the GSRV-VTI Project, VTI quickly ran into financial difficulties
                               19     again, such that by 2017, VTI’s “Management began exploring additional financing options,
                               20     including Line of Credit, Equity and Debt financing.”
                               21             117.      VTI nonetheless represented that, at least around October or November 2017, it
                               22     still somehow had the $1 million of EB-5 capital that it had placed in a restricted account in 2015.
                               23     Plaintiffs do not know what supposedly happened to those funds after that.
                               24

                               25             B.        Internal GSRV Conflicts, Reorganization, and Claims of Mental Incapacity
                               26             118.      Following the proposal by Defendant Kay of amended operating agreements for
                               27     GSRV LLC, GSRV Management, and various other GSRV-related entities, an internal dispute
                               28     centering around the ownership of and revenues generated by the GSRV entities erupted within

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                                  1   GSRV in early April 2015. This dispute eventually led to the related state court and arbitration
                                  2   proceedings previously mentioned (collectively, the “Related Proceedings”). (See footnote 6,
                                  3   supra.) The Related Proceedings opposed, on the one hand, Steven Kay, GSRV LLC, GSRV
                                  4   Management, and a host of other GSRV entities, and on the other hand, Judy Chu, a GSRV
                                  5   member with a minority ownership interest who refused to sign the amended operating
                                  6   agreements. (See id.)
                                  7           119.    To this day, no GSRV Defendant has ever directly informed Plaintiffs of, or even
                                  8   suggested to them, any of the facts discussed in this Section the Complaint.
                                  9           120.    Several findings made in the disposition of the Related Proceedings are in fact
                               10     material to this case. (See generally Ex. D.) These findings include those previously mentioned
                               11     about GSRV functioning in reality as one single enterprise. (See Section II.C, supra.) Other
                               12     material findings are discussed in the paragraphs that follow.
                               13             121.    The Related Proceedings and the underlying dispute “burdened” GSRV with
                               14     “substantial expenses and distractions,” “complicating relations with the tax authorities,
                               15     jeopardizing new projects, and, potentially, costing GSRV both the confidence of USCIS and the
                               16     license that entity had issued.” (Ex. D at 16, 47.) Defendant Kay apparently considered that the
                               17     proceedings created some sort of legal impediment obstructing “potentially significant projects”
                               18     from “go[ing] forward.” (Id. at 53.)
                               19             122.    The Related Proceedings formally began in August 2016 and, despite the dispute’s
                               20     disruptive effect on the Regional Center’s operations, the proceedings did not fully conclude until
                               21     May 2019. (See Ex. D.)
                               22             123.    Yet extensive internal mediation efforts would most likely have led to a resolution
                               23     of the dispute as early as August 2015, i.e., a year before any formal proceedings were even
                               24     initiated, but for the self-interested positions adopted at the time by Defendants Steven Kay and
                               25     Eric Chelini. (See, e.g., id. at 36, 39, 42.)
                               26             124.    Defendant Chelini was not a party to the Related Proceedings. He had signed the
                               27     amended operating agreements for the GSRV entities, as proposed by Defendant Kay and without
                               28     objecting, on April 8, 2015. All the same, Defendant Chelini substantially contributed to the

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                                  1   inception and the prolonged duration of GSRV’s internal dispute. Besides obstructing the
                                  2   dispute’s resolution in August 2015 with Defendant Kay as just mentioned, Eric Chelini also gave
                                  3   GSRV member Judy Chu reason to believe in the merits of her position that the amended
                                  4   operating agreements proposed by Defendant Kay were invalid. The tribunal ultimately
                                  5   disagreed with Ms. Chu’s position in that regard, but determined that her arguments had been
                                  6   reasonably raised in good faith.
                                  7              It . . . bears mentioning that there is reason to believe that in the spring or
                                  8              early summer of 2015 Mr. Chelini had told Ms. Chu that he did not believe
                                  9              that his signatures on the amended and new agreements had been lawfully
                               10                secured and that, therefore, the requisite percentage of membership interests
                               11                . . . had not been cast in favor of the new provisions. Within a few weeks
                               12                (maybe even days) after April 8th, and continuing for months thereafter,
                               13                Mr. Chelini actively pressed for changes to the changes -- apparently
                               14                attempting to acquire leverage in negotiations by claiming that emotional
                               15                or psychological infirmities had compromised the legal effectiveness of his
                               16                signatures. Ms. Chu’s privity to all of this supports her contention that she
                               17                had reasonable grounds for believing that the amendments and new
                               18                agreements had not been lawfully adopted.
                               19     (Ex. D at 39 (emphasis added).)
                               20            125.    Defendant Chelini’s claim, emphasized above, that he had not validly consented to
                               21     the amended operating agreements he signed on April 8, 2015 because of “emotional or
                               22     psychological infirmities [which] had compromised the legal effectiveness of his signatures” are
                               23     among the more troubling revelations in the Related Proceedings. To clarify further, Defendant
                               24     Chelini claimed that, on or around April 8, 2015, he was suffering from a “mood disorder”
                               25     resulting from “a bi-polar episode,” which “made his ‘decision-making . . . poor,’” and due
                               26     to which not only did he “not consult with his lawyer before signing, as he normally would have,”
                               27     but he also did “not fully understand the new terms in the agreement.”
                               28

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                                  1          126.    Defendant Chelini’s claims concerning his inability to consent to contract were
                                  2   further communicated in writing to his co-manager, Defendant Kay, and to GSRV generally at
                                  3   the latest between August 31 and September 4, 2015 — i.e., over one month before GSRV closed
                                  4   on the VTI Stock Purchase Agreement. (Ex. D at 34.)
                                  5          127.    Incredibly, none of this was ever disclosed to Plaintiffs by anyone at the GSRV
                                  6   Regional Center.
                                  7          128.    Nor, would it seem, did the Regional Center ever take any precautionary measures
                                  8   as a result of Defendant Chelini’s claim of temporary incapacity, even leading up to the closing
                                  9   date for the Stock Purchase Agreement with VTI, in November 2015.
                               10            129.    Instead, Defendants Steven Kay and Eric Chelini focused on protecting their own
                               11     individual financial interests within GSRV.
                               12            130.    Following Defendant Chelini’s written communications dated August 31 and
                               13     September 4, 2015, GSRV entered negotiations with Defendant Chelini during the Fall of 2015.
                               14     These negotiations eventually concluded in November 2015 — i.e., at the same time that GSRV
                               15     was buying $4.5 million of VTI stock using GSRV-VTI investor funds.
                               16            131.    In the end, GSRV agreed to pay Defendant Chelini $4 million to buy out his
                               17     membership interests in GSRV LLC, GSVR Management, and multiple other GSRV entities.
                               18     (Ex. D at 37.) But what the outcome of the negotiations was as to the Project Management LLC,
                               19     is unknown. It seems unlikely that GSRV also bought out Defendant Chelini’s sole interest in the
                               20     Project Management LLC, particularly because later communications on behalf of the Project
                               21     Management LLC, with Plaintiffs and with VTI, were ostensibly handled by Defendant Chelini.
                               22            132.    Regardless, to the best of Plaintiffs’ knowledge, GSRV LLC remains the Project’s
                               23     USCIS-designated regional center, even now. As such, GSRV has at all times been required to
                               24     retain control over the Project, even after/despite Defendant Chelini’s departure. But it is entirely
                               25     unclear whether or to what extent the Regional Center in fact performed these management and
                               26     oversight duties pursuant to the terms of its relationship with USCIS after November 2015 (or at
                               27     any time).
                               28

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                                  1          133.    Plaintiffs believe that GSRV has failed to perform at least some of its USCIS-
                                  2   designation-related obligations. For example, to the best of Plaintiffs’ knowledge, GSRV has
                                  3   notified USCIS neither of the significant changes affecting the GSRV-VTI Project nor of
                                  4   Defendant Chelini’s separation from the Regional Center’s management.
                                  5          134.    The Regional Center’s USCIS designation is the cornerstone of its operations and
                                  6   its revenue. (See U.S. Citizenship and Immigration Services, Regional Center Terminations,
                                  7   https://www.uscis.gov/working-in-the-united-states/permanent-workers/employment-based-
                                  8   immigration-fifth-preference-eb-5/eb-5-immigrant-investor-regional-centers/regional-center-
                                  9   terminations (“A regional center that USCIS has terminated from the EB-5 program may not
                               10     solicit, generate, or promote investors or investments or otherwise participate as a designated
                               11     regional center in connection with the Immigrant Investor Program.”).)
                               12            135.    Notifying USCIS of the disastrous and wholly foreseeable and avoidable outcome
                               13     of the GSRV-VTI Project, or of the departure of the Regional Center’s founder and co-manager
                               14     following an undisclosed episode of alleged mental incapacity, could jeopardize GSRV LLC’s
                               15     continued status as a USCIS-designated regional center.
                               16            136.    Accordingly, and especially given that GSRV has failed to alert USCIS of the
                               17     above-mentioned crucial changes in circumstances for several years, Plaintiffs believe that GSRV
                               18     has deliberately concealed this information from USCIS and from Plaintiffs.
                               19            137.    Worse, GSRV has withheld this critical information even though it knew that
                               20     notifying USCIS, as it was required to do, would almost certainly have ensured that this critical
                               21     information would finally reach Plaintiffs and the Project’s other EB-5 investors — the foreign
                               22     individuals whom the Regional Center claims to represent and assist in their immigration efforts
                               23     when trying to recruit their investments.
                               24

                               25            C.      November 6, 2017 Internal Memorandum on VTI’s Use of EB-5 Funds
                               26            138.    Defendant Chelini eventually became a member of VTI’s board of directors, as the
                               27     “Series B Director” provided for in Section 3.3.2 of the Stock Purchase Agreement. (Plaintiffs do
                               28     not yet know when he was supposedly elected. They likewise do not yet know whether or to

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                                  1   what extent Defendant Chelini actually participated in VTI board matters before September 28,
                                  2   2017.)
                                  3            139.   At a VTI board meeting on September 28, 2017, “Eric Chelini reviewed a memo
                                  4   he wrote to the Board requesting a detailed accounting of the Sources and Uses of funds raised
                                  5   through the EB-5 program.”
                                  6            140.   His memo apparently relied, at least in part, on a memo that VTI’s CEO had sent
                                  7   “a year earlier.”
                                  8            141.   The position adopted by VTI’s Chief Financial Officer (“CFO”) during the
                                  9   meeting was that Defendant Chelini had misinterpreted the CEO’s prior memo. In any event, “[a]
                               10     full accounting of how the EB-5 funds were used was requested.”
                               11              142.   As a result, VTI’s CFO circulated an internal memorandum, dated November 6,
                               12     2017, regarding VTI’s Use of EB-5 Funds.
                               13              143.   Section IV.A. of this Complaint, supra, describes the contents of this memo.
                               14

                               15              D.     GSRV Counsel’s January 30, 2018 Letter to EB-5 Investors Seeking a Waiver
                               16                     of Conflict of Interests
                               17              144.   The first communications Plaintiffs received as a result of Defendants’ deceitful
                               18     mismanagement of the Project were copies of a letter from Miller Mayer LLP, the Project’s
                               19     “special immigration counsel,” apparently dated January 30, 2018.
                               20              145.   Far from informing Project investors about the causes or effects of the Project’s
                               21     mismanagement or giving any indication of the many facts concealed by Defendants, the Miller
                               22     Mayer letter purported to request from investors waivers of conflicts of interest “relating to” the
                               23     Project.
                               24              146.   As for the context of the request, the letter merely stated that, “we have been
                               25     recently engaged by [the Project Management LLC] to solely advise [the Project Management
                               26     LLC] on immigration matters related to VTI’s recapitalization (‘VTI Recapitalization Matter’).”
                               27     But no information about the “VTI Recapitalization Matter” is discernible in the letter.
                               28

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                                  1          147.    The meaning of substantial portions of the letter is unclear, including most
                                  2   significantly the parts of the letter purporting to address the scope and implications of the
                                  3   requested conflict (or conflicts) waiver.
                                  4          148.    The letter further suggests that by consenting to the waiver, not only would
                                  5   investors agree that all of their confidential information could be shared with, at minimum, the
                                  6   Project Management LLC, but they would also acknowledge and consent to the fact that, on the
                                  7   other hand, Miller Mayer could withhold confidential information disclosed by Defendants from
                                  8   investors, no matter how important that information would otherwise be to them.
                                  9          149.    The Project Management LLC and Miller Mayer would have understood that,
                               10     despite the letter’s unclear and ostensibly overly one-sided times, the Project’s EB-5 investors
                               11     would reasonably not have felt that refusing the waiver and losing their immigration counsel was
                               12     a real option for them, especially Phase II investors. On their face, subscription agreements for
                               13     the Investor LLC indeed required that each investor “acknowledge[] and agree[] that the
                               14     Company’s special immigration counsel, as appointed by the Company, is the sole entity
                               15     authorized to respond on behalf of the [investor] in any matter before the USCIS, the
                               16     Administrative Appeals Office or other judicial body having jurisdiction over the
                               17     [investor’s] I-526 Petition or I-829 Petition.” (Ex. B at 8, § 4(q).)
                               18

                               19            E.      VTI’s Remaining Assets of Value Transferred to VTI Director(s)
                               20            150.    As a manufacturer of medical devices, a significant portion of VTI’s assets is in
                               21     the intellectual property associated with its products, particularly in its patents — which VTI’s
                               22     directors and the members of its executive team understood better than anyone.
                               23            151.    Citing the precarious financial situation VTI was finding itself in (as a result of the
                               24     decisions VTI’s directors improperly made), VTI directors and executives began demanding that
                               25     the company convey key pieces of intellectual property to them.
                               26            152.    Directors holding notes from VTI further began threatening to “foreclose” on
                               27     VTI’s assets, even though they were unsecured lenders with no claim to VTI’s intellectual
                               28     properties. In March 2018, VTI directors John Graves, Arnold Schwartz, and Paul Asdourian

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                                  1   demanded that VTI convey to them and/or other noteholders all of VTI’s rights and intellectual
                                  2   property associated with its “InterCushion” motion-preservation technology (see Ex. C at 13),
                                  3   including all of the company’s rights to U.S. patent No. 9,510,953 and related intellectual
                                  4   property.
                                  5          153.    The intellectual property rights demanded by these note-holding directors far
                                  6   exceeded the fair-market value of their notes from VTI, particularly given VTI’s current financial
                                  7   position and the lack of any security interest or other rights in VTI’s assets.
                                  8          154.    Moreover, as explained in Section IV.A. of this Complaint, supra, VTI directors
                                  9   Graves, Schwartz, and Asdourian had already misappropriated VTI property in the past, when, in
                               10     violation of the Stock Purchase Agreement, they took for themselves hundreds of thousands of
                               11     dollars in EB-5 funds that had been invested in the Project. (Paul Asdourian is also one of the
                               12     five directors who made emergency bridge loans in the Spring of 2015.)
                               13            155.    On June 20, 2018, VTI nonetheless assigned its rights to U.S. patent No. 9,510,953
                               14     (along with its foreign equivalents and related pending applications) to a Minnesota LLC
                               15     registered under the name “SAG, LLC.”
                               16            156.    The registered address for “SAG, LLC” is a residential property owned by VTI
                               17     director John E. Graves.
                               18

                               19            F.      Long Overdue Communications to Investors and Continued Deceit
                               20                    1. Misleading Communications from GSRV
                               21            157.    The Project Management LLC reached out to the project’s investors in a letter
                               22     signed by Defendant Chelini and dated June 8, 2018. A copy of the letter is attached as Exhibit
                               23     E and incorporated by reference into this Complaint.
                               24            158.    This letter begins with, “We, GSRV-VTI Management, LLC, are the managers of
                               25     both, GSRV-VTI I, LP and GSRV-VTI II, LLC. . . .” (It is unclear who “we” supposedly refers
                               26     to besides Defendant Chelini.)
                               27            159.    The letter then states that, “there have been some challenges arising with your
                               28     investment in [VTI].” It then elaborates as follows:

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                                  1

                                  2              Your quest for U.S. permanent residency through your investment in VTI is
                                  3              potentially affected by these challenges. Accordingly, we are writing to
                                  4              inform you of these developments and our efforts to ensure the best possible
                                  5              result for your U.S. immigration.
                                  6              In essence, VTI has been experiencing some difficulties in their attempts to
                                  7              successfully attain their revenue growth as planned. During December of
                                  8              2017, VTI’s management had indicated that the company was running out
                                  9              of funds to continue operations. In addition, some board members who had
                               10                loaned the company nearly $8,000,000 were intent on calling in these loans,
                               11                which we believe would effectively shut down the company.                    These
                               12                noteholders thought they had the right to do this. Since this information has
                               13                been known, GSRV-VTI Management has been working on solutions that
                               14                would keep the company going and protect your investment. Please know
                               15                that GSRV-VTI Management and immigration counsel have also been
                               16                working on preserving investors’ immigration benefits.
                               17     (Ex. E at 1 (emphasis added).)
                               18            160.    The letter then proceeds to list various asserted efforts to help investors with which
                               19     the Project Management LLC had “been instrumental,” such as “bringing in new management”
                               20     for VTI. (Through Eric Chelini in his position as VTI director, the Project Management LLC
                               21     helped bring in yet another CEO for VTI, Paul Hickey, who took over in July 2018.)
                               22            161.    Nowhere does the letter suggest that the Project Management LLC, Defendant
                               23     Chelini, or any other GSRV Defendant had failed the investors in any way.
                               24            162.    The Project Management LLC sent other, similarly misleading communications to
                               25     investors over the next two years. For example, in communications sent to investors in or around
                               26     November 2019, Defendant Chelini once again untruthfully represented that VTI’s financial
                               27     difficulties had existed “since the end of 2017.” At the same time, among other things he also
                               28     informed investors that he had retained counsel in Minnesota “as early as mid-2018” (i.e., nearly

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                                  1   a year and a half earlier) “to draft a lawsuit against VTI management and board members” — thus
                                  2   further deflecting all responsibility and even reinforcing the notion that he and GSRV were acting
                                  3   as investors’ fiduciaries, in their best interest.
                                  4

                                  5                    2. Further Fraudulent Statements from VTI
                                  6           163.     Meanwhile, in October 2018, VTI’s new CEO, Paul Hickey, reached out to the
                                  7   Project’s EB-5 investors directly (copying Defendant Chelini) to try to get more money from
                                  8   them through the purchase of shares of VTI’s brand new “Class C” stock: “I am writing to let you
                                  9   know that VTI is at a critical point and I need your help. Your help is needed now because VTI
                               10     needs to secure $475,000 USD immediately to execute our top strategy . . . .”
                               11             164.     The same email further falsely represented that, “Since [Paul Hickey] became
                               12     CEO in July, 2018, VTI has made great progress executing our strategies to help ensure our
                               13     immigration requirements with the USCIS EB-5 program are met for all EB-5 investors.”
                               14             165.     Unsurprisingly, Plaintiffs did not respond to Paul Hickey’s email by giving VTI
                               15     more money. Nor would it seem did any of the Project’s other investors. Instead the EB-5
                               16     investors expressed growing concerns about the Project and its management.
                               17             166.     When sending investors a revised slide deck for VTI’s purported new investment
                               18     opportunity in December 2018, Paul Hickey purported to address these concerns, but his answers
                               19     were highly misleading.
                               20                 a.      For example, the first questions that Mr. Hickey supposedly answered were:
                               21                         “Why is VTI’s performance not where it should be with past EB-5
                               22                         investments? Who is accountable?” His answer began as follows: “The
                               23                         simplest answer to this question is that VTI’s past commercialization efforts
                               24                         did not address the market need and there was not enough money invested to
                               25                         fix product issues. . . .” This vague statement conceals all of the material facts,
                               26                         and the rest of the answer did not help.
                               27                 b.      His response to the question of “What is the overall status with the EB-5
                               28                         immigration process for VTI and with others in the U.S.A.?” is even more

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                                  1                      troubling. That response stated that, “My strategic plan has considered the
                                  2                      necessary USCIS requirements to support your successful immigration. If
                                  3                      properly implemented, VTI’s performance will be in complete alignment with
                                  4                      USCIS requirements for permanent green cards to be obtained. However, it is
                                  5                      imperative that I obtain Series C funding immediately so we can grow VTI
                                  6                      between now and 2024. . . .” Mr. Hickey’s statements would make any
                                  7                      reasonable investor in Plaintiffs’ shoes feel considerable pressure to provide
                                  8                      more funds. Yet his representations about investors’ immigration status were
                                  9                      highly dubious at best.
                               10            167.    Following up on this email, a few weeks later Defendant Chelini sent Project
                               11     investors copies of VTI’s slide deck and Mr. Hickey’s resume translated into Chinese.
                               12

                               13                    3. Partial Truth Finally, Inadvertently Disclosed
                               14            168.    On or around July 30, 2020, investors received a copy of a draft complaint against
                               15     VTI and some of its directors and officers. The draft was created by the law firm in Minnesota
                               16     that the Project Management LLC/Eric Chelini had retained in 2018 and appears to have been
                               17     written around the same time.
                               18            169.    Yet Defendant Chelini only shared the document because and after he received a
                               19     request to do so. Given the contents of the draft summarized below, however, it is hardly
                               20     surprising that he was not overly eager to share the complaint with Project investors.
                               21            170.    The draft complaint names as plaintiffs the Project Management LLC and the two
                               22     Project Funds — thus, at first blush, suggesting aligned interests among GSRV and the Project’s
                               23     EB-5 investors. (This also ostensibly gave Defendant Chelini grounds to make the Project Funds
                               24     pay for any legal fees. In November 2019, he had indeed told investors that they would each
                               25     need to pay approximately $6,250 to pursue legal action against VTI/VTI managers and officers.)
                               26            171.    However, the allegations in the draft complaint finally let Plaintiffs on to
                               27     substantial parts of what Defendants had up until then successfully concealed from them for
                               28     years, including: that VTI’s finances had in fact largely been in ruin since early 2015, i.e., since

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                                  1   before GSRV used their investments to purchase VTI stock and before some of them had invested
                                  2   at all; that before the Stock Purchase Agreement closed, VTI had improperly entered agreements
                                  3   for the benefit of its own directors which required that it breach its prior covenant to GSRV
                                  4   regarding the use of EB-5 funds; that GSRV nonetheless closed on the Stock Purchase
                                  5   Agreement; that VTI did in fact immediately breach the Stock Purchase Agreement upon
                                  6   receiving EB-5 funds; and that afterward VTI’s mismanagement and financial struggles only
                                  7   continued, as a result of additional poor management decisions that were also inconsistent with
                                  8   the Project, in further violation of the Stock Purchase Agreement.
                                  9            172.    After receiving the draft complaint, Plaintiff Ma sent Defendant Chelini some
                               10     questions. In his reply, Defendant Chelini expressed concern about the impact a lawsuit might
                               11     have for investors who were in the I-829 petition process. He concluded by asserting that, “We
                               12     must get better understanding on how the claim will affect [those investors’ immigration status]
                               13     before we commence the claim.”
                               14

                               15         V.        Plaintiffs’ Largely Ignored Demands for Documents and Financial Information
                               16              173.    In October 2020, Plaintiffs each demanded the return of their investments.
                               17              174.    Plaintiffs simultaneously requested that Defendants allow them to exercise their
                               18     right to inspect and, as applicable, receive copies of various records and an accounting of the
                               19     funds traceable to them. See Cal. Corp. Code § 15903.04; id., § 17704.10; Minn. Stat. Ann. §
                               20     302A.461.
                               21              175.    Defendants have neither returned Plaintiffs’ money nor provided the documents
                               22     that Plaintiffs requested.
                               23

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                                  1                                          CLAIMS FOR RELIEF
                                  2                      CLAIMS ASSERTED BY PLAINTIFFS LIU AND ZHANG
                                  3                                   Count 1 – Fraudulent Inducement
                                  4                                          (Against All Defendants)
                                  5          176.    Plaintiffs repeat and reallege each of the allegations set forth in the previous
                                  6   paragraphs.
                                  7          177.    Defendants concealed several material developments from Plaintiffs in order to
                                  8   induce them into investing in the GSRV-VTI Project.
                                  9          178.    First, Defendants concealed material changes regarding VTI’s finances.
                               10            179.    GSRV and VTI collaborated in making representations to Plaintiffs about the state
                               11     of VTI’s finances, which Defendants further purported to update on at least two separate
                               12     occasions.
                               13            180.    The repeated references to VTI’s past financial growth in the marketing materials
                               14     prepared by Defendants demonstrate that Defendants knew such information was material to
                               15     potential investors.
                               16            181.    Yet, before Plaintiffs or any Phase II investor had subscribed to GSRV-VTI II,
                               17     LLC, VTI’s finances had materially worsened so as to make Defendants’ prior representations
                               18     about VTI’s financial health misleading. These changes in circumstances were known to VTI and
                               19     should have been known to GSRV.
                               20            182.    Nonetheless, Defendants made no effort to inform Plaintiffs of these changes or to
                               21     otherwise correct their prior representations.
                               22            183.    Second, Defendants concealed VTI’s promise to use EB-5 funds in violation of the
                               23     Stock Purchase Agreement and of the purpose of the Project.
                               24            184.    Defendants had jointly represented that capital contributions made by EB-5
                               25     investors would be used for the Project sponsored by the GSRV Regional Center, i.e., to expand
                               26     VTI’s manufacturing capacity in the San Jose, California area.
                               27

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                                  1           185.    Yet, before Plaintiffs or any Phase II investor had subscribed to GSRV-VTI II,
                                  2   LLC, VTI had taken out emergency loans from its directors and agreed to use EB-5 funds to
                                  3   reimburse its directors and pay them any interest accrued on those loans.
                                  4           186.    Because of the requirements of the EB-5 Program — and as evidenced in the
                                  5   marketing materials and agreements prepared by Defendants — Defendants knew that their
                                  6   representations regarding the use of EB-5 funds were material to potential investors.
                                  7           187.    Nonetheless, Defendants made no effort to inform Plaintiffs of these changes or to
                                  8   otherwise correct their prior representations.
                                  9           188.    Third, Defendants represented that GSRV was an “[e]xcellent regional center,”
                               10     which “[i]nvestigates and identifies safe investment” and “[a]ssists” EB-5 investors by providing
                               11     the “highest quality service,” including by touting Defendant Chelini’s personal experience.
                               12             189.    Yet Defendants failed to disclose the mental impairment allegedly experienced by
                               13     Defendant Chelini at or around the same time as Plaintiffs were being offered membership
                               14     interests to invest in the Project.
                               15             190.    Defendants concealed these and other facts in order to induce Plaintiffs to invest in
                               16     the GSRV-VTI Project.
                               17             191.    Plaintiffs Liu and Zhang were in fact each reasonably induced into paying
                               18     $540,000 in order to invest in the Project as a result of Defendants’ misrepresentations.
                               19             192.    Defendants continued to conceal their misrepresentations from Plaintiffs for years,
                               20     including by making partial disclosures and further misrepresentations to Plaintiffs.
                               21             193.    Because Plaintiffs’ subscription agreements with GSRV-VTI II, LLC were
                               22     induced by fraud, those agreements are void and unenforceable, and Plaintiffs are entitled to
                               23     restitution of the full $540,000 contract price that they paid.
                               24             194.    In committing their fraudulent conduct, Defendants acted despicably, in conscious
                               25     disregard for Plaintiffs’ rights and with oppression and malice toward Plaintiffs, and subjected
                               26     Plaintiffs to cruel and unjust hardship. Plaintiffs are therefore entitled to an award of punitive
                               27     damages, in an amount to be determined at trial, sufficient to make an example of Defendants.
                               28

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                                  1                  Count 2 – Breach of Fiduciary Duties Owed by LLC Managers
                                  2                                       (Cal. Corp. Code § 17704.09)
                                  3                               (Against GSRV-VTI Management LLC;
                                  4                         Against All Other GSRV Defendants as Alter Egos)
                                  5          195.    Plaintiffs repeat and reallege each of the allegations set forth in the previous
                                  6   paragraphs.
                                  7          196.    GSRV-VTI II, LLC was formed in December 2014.
                                  8          197.    California LLCs formed on or after January 1, 2014 are governed by the California
                                  9   Revised Uniform Limited Liability Company Act (“RULLCA”), Cal. Corp. Code § 17701.01 et
                               10     seq.
                               11            198.    RULLCA provides that LLC managers owe the LLC they manage and the LLC’s
                               12     members certain fiduciary duties that cannot be eliminated or unreasonably diminished by
                               13     contract. See Cal. Corp. Code §§ 17701.10, 17704.09. As a matter of public law, LLC managers
                               14     thus owe the LLC’s non-managing members a duty of loyalty and a duty of care, which LLC
                               15     managers must further discharge “consistent with the obligation of good faith and fair dealing.”
                               16     Cal. Corp. Code § 17704.09.
                               17            199.    The manager of GSRV-VTI II, LLC, i.e., GSRV-VTI Management, LLC and its
                               18     alter egos (collectively, “the Manager”), repeatedly breached the duties of care and loyalty that
                               19     the Manager has owed to the Plaintiffs at all relevant times.
                               20            200.    The Manager failed to take reasonable steps to confirm, before closing on the
                               21     Stock Purchase Agreement, that no material changes had impacted VTI, particularly considering
                               22     that much of the relevant information would likely have been apparent upon reviewing the
                               23     minutes of VTI’s board meetings beginning in 2015.
                               24            201.    The Manager failed to perform — or ensure that some GSRV entity or individual
                               25     performed — the oversight, management, and control duties over the Project, as required for all
                               26     projects sponsored by USCIS-designated regional centers. Even though the Stock Purchase
                               27     Agreement provided for the creation of a VTI director position to represent the holders of VTI
                               28     Class B Preferred Shares, i.e., the Project Funds, the Manager seemingly failed to monitor the

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                                  1   Project’s progress, and even failed to monitor how VTI was using the EB-5 funds sourced from
                                  2   Plaintiffs and the Project’s other investors, until roughly two years after the Stock Purchase
                                  3   Agreement initially closed. The Manager’s initial inquiry into VTI’s use of its EB-5 funds
                                  4   referenced a VTI memorandum that had been circulated a year earlier.
                                  5          202.      The Manager breached the terms of the LLC’s subscription agreements by
                                  6   releasing the full $2 million corresponding to Phase II investors’ capital contributions in
                                  7   November 2015, before USCIS had issued a determination as to all — or, likely, any — of the
                                  8   Phase II investors’ I-526 petitions.
                                  9          203.      The Manager failed to disclose the mental impairment allegedly suffered by
                               10     Defendant Chelini, the manager and sole member of GSRV-VTI Management, LLC, at a critical
                               11     time leading up to the close of the Stock Purchase Agreement.
                               12            204.      The Manager allowed internal GSRV disputes to take priority over any attempt to
                               13     discharge its duties to Plaintiffs and the Project’s other investors in a manner consistent with its
                               14     obligation of good faith and fair dealing.
                               15            205.      To the extent that the Manager’s relationship with the GSRV Regional Center was
                               16     materially altered as a result of the GSRV internal disputes that began in April 2015 — or as a
                               17     result of the subsequent buy-out of Defendant Chelini’s membership interests from GSRV LLC
                               18     and most other GSRV related entities — the Manager failed to inform USCIS, Plaintiffs, and the
                               19     Project’s other investors of this change.
                               20            206.      Upon learning that VTI had used investor funds in violation of the Stock Purchase
                               21     Agreement, instead of and without informing Plaintiffs and the project’s other investors of VTI’s
                               22     breach, the Manager sought to protect itself at the expense of the LLC’s members by
                               23     “requesting,” through counsel, that the LLC members consent to a waiver of future conflicts of
                               24     interest, which allowed the Manager to retain access to all confidential information provided by
                               25     the LLC members while ensuring that the LLC members would have no access to information
                               26     disclosed by the Manager. In presenting the LLC members with this so-called “request,” the
                               27     Manager and its counsel understood that the LLC members would have felt compelled to consent
                               28     to the waiver.

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                                  1          207.    When the Manager learned that VTI had immediately used Project investor funds
                                  2   in violation of the Stock Purchase Agreement, the Manager withheld this information from
                                  3   Plaintiffs. Even when the Manager finally began disclosing certain facts to the LLC members, it
                                  4   misrepresented the gravity of the situation and the relevant timeline, in an apparent attempt to
                                  5   conceal its own responsibility.
                                  6          208.    The numerous breaches of the Manager’s fiduciary duties caused Plaintiffs and the
                                  7   other members of the LLC significant harm, including by depriving them of information likely to
                                  8   have led to the Manager’s replacement at junctures when Plaintiffs’ investment could have been
                                  9   salvaged.
                               10            209.    As a result of the breaches of fiduciary duties committed by GSRV-VTI
                               11     Management, LLC and its alter egos, Plaintiffs have been harmed in an amount of no less than
                               12     $540,000 each, subject to proof at trial.
                               13            210.    In breaching the fiduciary duties owed to the Plaintiffs, Defendants acted
                               14     despicably, in conscious disregard for Plaintiffs’ rights and with oppression and malice toward
                               15     Plaintiffs, and subjected Plaintiffs to cruel and unjust hardship. Plaintiffs are therefore entitled to
                               16     an award of punitive damages, in an amount to be determined at trial, sufficient to make an
                               17     example of Defendants.
                               18

                               19                      Count 3 – Aiding and Abetting Breaches of Fiduciary Duties
                               20                                          (Cal. Corp. Code § 17704.09)
                               21       (Against GSRV LLC; GSRV Management, LLC; and the Individual GSRV Defendants)
                               22            211.    Plaintiffs repeat and reallege each of the allegations set forth in the previous
                               23     paragraphs.
                               24            212.    GSRV-VTI Management, LLC breached the fiduciary duties it owed Plaintiffs as
                               25     the designated manager of GSRV-VTI II, LLC, as previously discussed.
                               26            213.    All other GSRV Defendants knew of at least some of these breaches.
                               27            214.    Defendants provided substantial assistance or encouragement toward these
                               28     breaches, including by engaging in and prolonging internal GSRV disputes, which obstructed the

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                                  1   normal functioning of the Regional Center; by failing to disclose the mental impairment allegedly
                                  2   suffered by Defendant Chelini for some time around April 2015; by failing to ensure that the
                                  3   Regional Center performed its oversight duties over the Project as required pursuant to its USCIS
                                  4   designation; and, if any material alteration of the relationship between GSRV LLC and GSRV-
                                  5   VTI Management, LLC supposedly occurred as a result of the GSRV internal disputes that began
                                  6   in April 2015 — or as a result of the subsequent buy-out of Defendant Chelini’s membership
                                  7   interests from GSRV LLC and most other GSRV related entities, by failing to disclose this
                                  8   change to USCIS and to the Project’s investors.
                                  9          215.    Defendants’ acts and omissions were substantial factors in causing Plaintiffs’
                               10     harm, as previously discussed.
                               11            216.    In aiding and abetting the breaches of fiduciary duties owed to the Plaintiffs,
                               12     Defendants acted despicably, in conscious disregard for Plaintiffs’ rights and with oppression and
                               13     malice toward Plaintiffs, and subjected Plaintiffs to cruel and unjust hardship. Plaintiffs are
                               14     therefore entitled to an award of punitive damages, in an amount to be determined at trial,
                               15     sufficient to make an example of Defendants.
                               16

                               17                      Count 4 – Aiding and Abetting Breaches of Fiduciary Duties
                               18                                          (Cal. Corp. Code § 17704.09)
                               19                                                    (Against VTI)
                               20            217.    Plaintiffs repeat and reallege each of the allegations set forth in the previous
                               21     paragraphs.
                               22            218.    GSRV-VTI Management, LLC breached the fiduciary duties it owed Plaintiffs as
                               23     the designated manager of GSRV-VTI II, LLC, as previously discussed.
                               24            219.    VTI knew of at least some of these breaches.
                               25            220.    VTI substantially contributed to these breaches of fiduciary duties, including by
                               26     failing to disclose the material changes in its financial situation prior to closing on the Stock
                               27     Purchase Agreement, by using the funds it received from Plaintiffs and the Project’s other
                               28

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                                  1   investors in violation of the Stock Purchase Agreement, and by improperly transferring its assets
                                  2   to its directors.
                                  3            221.       VTI’s conduct was a substantial factor in causing Plaintiffs’ harm as previously
                                  4   discussed.
                                  5            222.       In aiding and abetting the breaches of fiduciary duties owed to the Plaintiffs, VTI
                                  6   acted despicably, in conscious disregard for Plaintiffs’ rights and with oppression and malice
                                  7   toward Plaintiffs, and subjected Plaintiffs to cruel and unjust hardship. Plaintiffs are therefore
                                  8   entitled to an award of punitive damages, in an amount to be determined at trial, sufficient to
                                  9   make an example of VTI.
                               10

                               11                     CLAIMS ASSERTED BY PLAINTIFFS MA, WANG, AND ZHAO
                               12                     Count 5 – Breach of Fiduciary Duties Owed by General Partners
                               13                                              (Cal. Corp. Code § 15904.08)
                               14                            (Against GSRV LLC and GSRV-VTI Management LLC;
                               15                               Against All Other GSRV Defendants as Alter Egos)
                               16              223.       Plaintiffs repeat and reallege each of the allegations set forth in the previous
                               17     paragraphs.
                               18              224.       California law provides that general partners owe the limited partnership they
                               19     manage and the partnership’s other partners certain fiduciary duties that cannot be eliminated or
                               20     unreasonably diminished by contract. See Cal. Corp. Code § 15904.08. As a matter of public
                               21     law, general partners thus owe the limited partners of a limited partnership a duty of loyalty and a
                               22     duty of care, which general partners must further discharge “consistent with the obligation of
                               23     good faith and fair dealing.” Cal. Corp. Code § 15904.08.
                               24              225.       The general partner of GSRV-VTI, LP, i.e., GSRV LLC, GSRV-VTI
                               25     Management, LLC, and their alter egos (collectively, “the General Partner”), repeatedly breached
                               26     the duties of care and loyalty that the General Partner has owed to the Plaintiffs at all relevant
                               27     times.
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                                  1          226.    The General Partner failed to take reasonable steps to confirm, before closing on
                                  2   the Stock Purchase Agreement, that no material changes had impacted VTI, particularly
                                  3   considering that much of the relevant information would likely have been apparent upon
                                  4   reviewing the minutes of VTI’s board meetings beginning in 2015.
                                  5          227.    The General Partner failed to perform — or ensure that some GSRV entity or
                                  6   individual performed — the oversight, management, and control duties over the Project, as
                                  7   required for all projects sponsored by USCIS-designated regional centers. Even though the Stock
                                  8   Purchase Agreement provided for the creation of a VTI director position to represent the holders
                                  9   of VTI Class B Preferred Shares, i.e., the Project Funds, the General Partner seemingly failed to
                               10     monitor the Project’s progress, and even failed to monitor how VTI was using the EB-5 funds
                               11     sourced from Plaintiffs and the Project’s other investors, until roughly two years after the Stock
                               12     Purchase Agreement initially closed. The General Partner’s initial inquiry into VTI’s use of its
                               13     EB-5 funds referenced a VTI memorandum that had been circulated a year earlier.
                               14            228.    The General Partner failed to disclose the mental impairment allegedly suffered by
                               15     Defendant Chelini — co-manager of GSRV LLC until around November 2015, and at all times
                               16     the manager and sole member of GSRV-VTI Management, LLC — at a critical time leading up to
                               17     the close of the Stock Purchase Agreement.
                               18            229.    The General Partner allowed internal GSRV disputes to take priority over any
                               19     attempt to discharge its duties to Plaintiffs and the Project’s other investors in a manner consistent
                               20     with its obligation of good faith and fair dealing.
                               21            230.    To the extent that the General Partner’s relationship with the GSRV Regional
                               22     Center was materially altered as a result of the GSRV internal disputes that began in April 2015
                               23     — or as a result of the subsequent buy-out of Defendant Chelini’s membership interests from
                               24     GSRV LLC and most other GSRV related entities — the General Partner failed to inform USCIS,
                               25     Plaintiffs, and the Project’s other investors of this change.
                               26            231.    Upon learning that VTI had used investor funds in violation of the Stock Purchase
                               27     Agreement, instead of and without informing Plaintiffs and the project’s other investors of VTI’s
                               28     breach, the Manager sought to protect itself at the expense of the Investor LP’s limited partners

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                                  1   by “requesting,” through counsel, that the limited partners consent to a waiver of future conflicts
                                  2   of interest, which allowed the General Partner to retain access to all confidential information
                                  3   provided by the limited partners while ensuring that the limited partners would have no access to
                                  4   information disclosed by the General Partner. In presenting the limited partners with this so-
                                  5   called “request,” the General Partner and its counsel understood that the limited partners would
                                  6   have felt compelled to consent to the waiver.
                                  7          232.    When the General Partner learned that VTI had immediately used Project investor
                                  8   funds in violation of the Stock Purchase Agreement, the General Partner withheld this
                                  9   information from Plaintiffs. Even when the General Partner finally began disclosing certain facts
                               10     to the limited partners, it misrepresented the gravity of the situation and the relevant timeline, in
                               11     an apparent attempt to conceal its own responsibility.
                               12            233.    The numerous breaches of the General Partner’s fiduciary duties caused Plaintiffs
                               13     and the Investor LP’s other limited partners significant harm, including by depriving them of
                               14     information likely to have led to the General Partner’s replacement at junctures when Plaintiffs’
                               15     investment could have been salvaged.
                               16            234.    As a result of the breaches of fiduciary duties committed by GSRV LLC, GSRV-
                               17     VTI Management, LLC, and their alter egos, Plaintiffs have been harmed in an amount of no less
                               18     than $540,000 each, subject to proof at trial.
                               19            235.    In breaching the fiduciary duties owed to the Plaintiffs, Defendants acted
                               20     despicably, in conscious disregard for Plaintiffs’ rights and with oppression and malice toward
                               21     Plaintiffs, and subjected Plaintiffs to cruel and unjust hardship. Plaintiffs are therefore entitled to
                               22     an award of punitive damages, in an amount to be determined at trial, sufficient to make an
                               23     example of Defendants.
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                                  1                    Count 6 – Aiding and Abetting Breaches of Fiduciary Duties
                                  2                                        (Cal. Corp. Code § 15904.08)
                                  3     (Against GSRV LLC; GSRV Management, LLC; and the Individual GSRV Defendants)
                                  4          236.    Plaintiffs repeat and reallege each of the allegations set forth in the previous
                                  5   paragraphs.
                                  6          237.    GSRV LLC and GSRV-VTI Management, LLC breached the fiduciary duties they
                                  7   owed Plaintiffs as the successive general partners of GSRV-VTI, LP, as previously discussed.
                                  8          238.    All other GSRV Defendants knew of at least some of these breaches.
                                  9          239.    Defendants provided substantial assistance or encouragement toward these
                               10     breaches, including by engaging in and prolonging internal GSRV disputes, which obstructed the
                               11     normal functioning of the Regional Center; by failing to disclose the mental impairment allegedly
                               12     suffered by Defendant Chelini for some time around April 2015; by failing to ensure that the
                               13     Regional Center performed its oversight duties over the Project as required pursuant to its USCIS
                               14     designation; and, if any material alteration of the relationship between GSRV LLC and GSRV-
                               15     VTI Management, LLC supposedly occurred as a result of the GSRV internal disputes that began
                               16     in April 2015 — or as a result of the subsequent buy-out of Defendant Chelini’s membership
                               17     interests from GSRV LLC and most other GSRV related entities, by failing to disclose this
                               18     change to USCIS and to the Project’s investors.
                               19            240.    Defendants’ acts and omissions were substantial factors in causing Plaintiffs’
                               20     harm, as previously discussed.
                               21            241.    In aiding and abetting the breaches of fiduciary duties owed to the Plaintiffs,
                               22     Defendants acted despicably, in conscious disregard for Plaintiffs’ rights and with oppression and
                               23     malice toward Plaintiffs, and subjected Plaintiffs to cruel and unjust hardship. Plaintiffs are
                               24     therefore entitled to an award of punitive damages, in an amount to be determined at trial,
                               25     sufficient to make an example of Defendants.
                               26             //
                               27            //
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                                  1                         Count 7 – Aiding and Abetting Breaches of Fiduciary Duties
                                  2                                            (Cal. Corp. Code § 15904.08)
                                  3                                                      (Against VTI)
                                  4           242.        Plaintiffs repeat and reallege each of the allegations set forth in the previous
                                  5   paragraphs.
                                  6           243.        GSRV LLC and GSRV-VTI Management, LLC breached the fiduciary duties they
                                  7   owed Plaintiffs as the successive general partners of GSRV-VTI, LP, as previously discussed.
                                  8           244.        VTI knew of at least some of these breaches.
                                  9           245.        VTI substantially contributed to these breaches of fiduciary duties, including by
                               10     failing to disclose the material changes in its financial situation prior to closing on the Stock
                               11     Purchase Agreement, by using the funds it received from Plaintiffs and the Project’s other
                               12     investors in violation of the Stock Purchase Agreement, and by improperly transferring its assets
                               13     to its directors.
                               14             246.        VTI’s conduct was a substantial factor in causing Plaintiffs’ harm as previously
                               15     discussed.
                               16             247.        In aiding and abetting the breaches of fiduciary duties owed to the Plaintiffs, VTI
                               17     acted despicably, in conscious disregard for Plaintiffs’ rights and with oppression and malice
                               18     toward Plaintiffs, and subjected Plaintiffs to cruel and unjust hardship. Plaintiffs are therefore
                               19     entitled to an award of punitive damages, in an amount to be determined at trial, sufficient to
                               20     make an example of VTI.
                               21

                               22                                    CLAIMS ASSERTED BY ALL PLAINTIFFS
                               23                                            Count 8 – Constructive Fraud
                               24                            (Against GSRV LLC and GSRV-VTI Management LLC;
                               25                               Against All Other GSRV Defendants as Alter Egos)
                               26             248.        Plaintiffs repeat and reallege each of the allegations set forth in the previous
                               27     paragraphs.
                               28

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                                  1           249.   GSRV Management, LLC and GSRV LLC — and all other GSRV Defendants as
                                  2   their alter egos — became Plaintiffs’ fiduciaries once Plaintiffs subscribed to the Project Funds.
                                  3           250.   In the course of the fiduciary relationship, the GSRV Defendants repeatedly failed
                                  4   to disclose material facts to Plaintiffs, which caused Plaintiffs harm, as previously discussed.
                                  5           1.     Plaintiffs have suffered damages in an amount of at least $2,700,000 plus any
                                  6   applicable interest, as well as other appropriate damages according to proof.
                                  7           2.     In withholding material information from Plaintiffs in violation of their fiduciary
                                  8   duties to the Plaintiffs, Defendants acted despicably, in conscious disregard for Plaintiffs’ rights
                                  9   and with oppression and malice toward Plaintiffs, and subjected Plaintiffs to cruel and unjust
                               10     hardship. Plaintiffs are therefore entitled to an award of punitive damages, in an amount to be
                               11     determined at trial, sufficient to make an example of Defendants.
                               12

                               13                                       Count 9 – Fraudulent Concealment
                               14       (Against GSRV LLC; GSRV Management, LLC; the Individual GSRV Defendants; and
                               15                                                      Against VTI)
                               16             251.   Plaintiffs repeat and reallege each of the allegations set forth in the previous
                               17     paragraphs.
                               18             252.   As previously explained, Defendants failed to disclose to the Plaintiffs various
                               19     information which Defendants were required to disclose in order to correct or clarify otherwise
                               20     misleading representations that Defendants had previously made to the Plaintiffs, directly or
                               21     indirectly.
                               22             253.   Defendants knowingly concealed this information from Plaintiffs, to prevent
                               23     Plaintiffs from acting upon this information to protect their interests in ways that would be
                               24     detrimental to Defendants, such as by preventing the close of the Stock Purchase Agreement or
                               25     drawing attention to the GSRV’s failure to perform its duties under federal law as a USCIS-
                               26     designated regional center.
                               27

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                                  1           254.    In justifiable reliance on Defendants’ prior representations to Plaintiffs, Plaintiffs
                                  2   in fact did not act to protect their interests, including in ways that would have been detrimental to
                                  3   Defendants, and suffered harm as previously explained.
                                  4           255.    In fraudulently concealing material facts from Plaintiffs for their own benefit,
                                  5   Defendants acted despicably, in conscious disregard for Plaintiffs’ rights and with oppression and
                                  6   malice toward Plaintiffs, and subjected Plaintiffs to cruel and unjust hardship. Plaintiffs are
                                  7   therefore entitled to an award of punitive damages, in an amount to be determined at trial,
                                  8   sufficient to make an example of Defendants.
                                  9

                               10                                              Count 10 – Conversion
                               11                                             (Against All Defendants)
                               12             256.    Plaintiffs repeat and reallege each of the allegations set forth in the previous
                               13     paragraphs.
                               14             257.    Defendants improperly took and retained Plaintiffs’ investment funds, and
                               15     accompanying fee payments. Defendants have, without authorization, asserted dominion and
                               16     control over the funds which are specifically identifiable property of Plaintiffs, and are owned by
                               17     and payable to Plaintiffs.
                               18             258.    This conversion is inconsistent with Plaintiffs’ rights and ownership to property.
                               19             259.    The payments and property wrongfully converted by Defendants are specific and
                               20     identifiable.
                               21             260.    Plaintiffs have demanded the return of their property, but the funds have not been
                               22     returned.
                               23             261.    To the extent any Defendants did not directly convert Plaintiffs’ property, those
                               24     Defendants substantially assisted others with acts of conversion, and exercised dominion and
                               25     control over Plaintiffs’ property while those Defendants either knew or should have known that
                               26     Plaintiffs’ property was misappropriated.
                               27

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                                  1          262.    As a direct result of Defendants’ misappropriation and conversion, Plaintiffs have
                                  2   suffered damages in the amount of at least $2,700,000 plus any applicable interest, as well as
                                  3   other appropriate damages according to proof.
                                  4          263.    Defendants acted despicably, in conscious disregard for Plaintiffs’ rights and with
                                  5   oppression and malice toward Plaintiffs, and subjected Plaintiffs to cruel and unjust hardship.
                                  6   Plaintiffs are therefore entitled to an award of punitive damages, in an amount to be determined at
                                  7   trial, sufficient to make an example of Defendants.
                                  8
                                  9        Count 11 – Voidable Transfers in Violation of Minn. Stats. Ann. §§ 513.44–513.45
                               10                                                    (Against VTI)
                               11            264.    Plaintiffs repeat and reallege each of the allegations set forth in the previous
                               12     paragraphs.
                               13            265.    Under the Minnesota Uniform Fraudulent Transfer Act, certain transactions by
                               14     debtors are deemed voidable and entitle a creditor to avoid the transfer, obtain judgment against
                               15     the transferee, or receive other relief provided by statute.
                               16            266.    On account of VTI’s breach of the Stock Purchase Agreement and
                               17     misrepresentations and omissions outlined above, Plaintiffs have valid claims against VTI and
                               18     thus constitute “creditors” of VTI.
                               19            267.    VTI’s payments and transfers of intellectual property to VTI Directors John
                               20     Graves, Dr. Paul Asdourian, and Dr. Arnold Schwartz constitute voidable transfers under Minn.
                               21     Stat. § 513.44 because they were made with an actual intent to hinder, delay, or defraud Plaintiffs
                               22     and because VTI intended to incur, or reasonably believed that it would incur, debts beyond its
                               23     ability to pay them as they became due.
                               24            268.    VTI’s payments and transfers of intellectual property to VTI directors John
                               25     Graves, Dr. Paul Asdourian, and Dr. Arnold Schwartz also constitute voidable transfers under
                               26     Minn. Stat. § 513.45(b) because Plaintiffs’ claims arose before the date of the transfers and
                               27     because VTI directors John Graves, Dr. Paul Asdourian, and Dr. Arnold Schwartz constitute
                               28     “insiders” as defined by Minnesota Statute, received the transfer to satisfy an antecedent debt,

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                                  1   received the transfer at a time when VTI was insolvent, and had reasonable cause to believe that
                                  2   VTI was insolvent.
                                  3          269.    Based on the foregoing, Plaintiffs are entitled to judgment against VTI for the
                                  4   amount of the transfers to its directors, plus interest, in an amount to be determined at trial.
                                  5

                                  6                                      Count 12 – Unfair Competition
                                  7                             (Cal. Bus. & Prof. Code Section § 17200 et seq.)
                                  8                                     (Against All GSRV Defendants)
                                  9          270.    Plaintiffs repeat and reallege each of the allegations set forth in the previous
                               10     paragraphs.
                               11            271.    Plaintiffs assert this Claim against the GRSV Defendants for all aspects of their
                               12     unlawful, unfair, and fraudulent business practices, as those terms are defined in California
                               13     Business & Professions Code § 17200, et seq., commonly known as “California’s Unfair
                               14     Competition Law” (“UCL”).
                               15            272.    Plaintiffs are “persons” under the UCL. Cal. Bus. & Prof. Code § 17201.
                               16            273.    By reason of GRSV’s previously described wrongful actions, inactions and
                               17     omissions, the GRSV Defendants have engaged in unlawful, unfair, and fraudulent practices
                               18     within the meaning of the UCL.
                               19            274.    The GRSV Defendants’ conduct is “unfair” within the meaning of the UCL, as it is
                               20     offensive to established public policy, immoral, unscrupulous, unethical, oppressive, and
                               21     substantially injurious to foreign investors attempting to avail themselves of lawful immigration
                               22     channels by investing in U.S. regions that need such resources.
                               23            275.    The GRSV Defendants’ practices are “unlawful” because, as discussed, these
                               24     practices amount to violations of GSRV’s fiduciary duties towards Plaintiffs and GSRV’s other
                               25     EB-5 investors under California Code of Corporations § 16404 and § 17704.09, and/or to aiding
                               26     and abetting the same. Moreover, GSRV’s practices are also unlawful because they violate
                               27     California’s Securities Law Act of 1968, see Cal. Corp. Code §§ 25401, 25504.1, and federal law
                               28     governing the EB-5 Program.

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                                  1          276.    GRSV’s practices are “fraudulent” because they are likely to deceive reasonable
                                  2   persons in Plaintiffs’ positions into believing that the material aspects of an investment in the
                                  3   GSRV-VTI Projects were, at minimum, consistent with the facts as represented by Defendants.
                                  4          277.    Defendants, collectively, contracted with each other, regarding all aspects of the
                                  5   functioning of the Regional Center. They collaborated in the creation of a project for USCIS
                                  6   approval and in the creation marketing materials for the project. They represented the risks of
                                  7   their projects based on past indicators of financial strength and growth but failed to give any
                                  8   indication of changed circumstances. They negotiated agreements on behalf of those investors
                                  9   supposed to restrict the permissible uses of investor funds and presented as such to potential
                               10     investors.
                               11            278.    By withholding material information and by failing to correct or clarify their own
                               12     statements despite changed circumstances making those statements misleading, Defendants
                               13     collectively violated the UCL.
                               14            279.    The inclusion of one-sided and self-serving provisions in GSRV’s own form
                               15     agreements, such as provisions purporting to disclaim Plaintiffs’ reliance on any representations
                               16     made by GSRV (or any other Defendant), amounts to further violations of the UCL. These
                               17     provisions were drafted, in English, by GRSV, i.e., the party with the superior understanding of
                               18     the EB-5 Program and with the superior access to information. 14 Meanwhile, GSRV’s
                               19     subscription agreements simultaneously provide that, unlike their individual investors, the GSRV
                               20     Defendants were entitled to and did in fact rely on all of Plaintiffs’ representations.
                               21            280.    These excessively one-sided terms, imposed in form agreements presented to
                               22     individual foreign citizens trying to immigrate to the United States, are both substantively and
                               23     procedurally unconscionable. Such unconscionable contract terms are unenforceable. See
                               24     California Civil Code § 1670.5.
                               25            281.    Moreover, “[a]ll contracts which have for their object, directly or indirectly, to
                               26     exempt any one from responsibility for his own fraud, or willful injury to the person or property
                               27
                                      14 It can be particularly challenging to conduct a comprehensive investigation from China, which
                               28
                                      only allows limited Internet access.

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                                  1   of another, or violation of law, whether willful or negligent, are against the policy of the law.”
                                  2   Cal. Civ. Code § 1668.
                                  3          282.    Many of Defendants’ practices that violate the UCL are ongoing, as Defendants
                                  4   have still not disclosed many of the material facts they have concealed from Plaintiffs. Because
                                  5   some of these facts only just came to light in the course of preparing this action, Plaintiffs do not
                                  6   know whether, even now, they have discovered the full scope of the Defendants’ deceit.
                                  7          283.    Plaintiffs have been, and continue to be, injured as a direct and proximate result of
                                  8   the GRSV Defendants’ violations of the UCL.
                                  9          284.    Plaintiffs are entitled to pursue a claim against the GRSV Defendants pursuant to
                               10     Business & Professions Code Sections 17203 and 17205 for restitution, equitable, and injunctive
                               11     relief to remedy the unlawful, unfair, fraudulent practices of the GRSV Defendants. Plaintiffs are
                               12     additionally entitled to move under California Code of Civil Procedure Section 1021.5 for an
                               13     award of reasonable costs and attorney fees.
                               14

                               15                                        Count 13 – Failure to Disclose
                               16                                  (Cal. Corp. Code § 15903.04, § 17704.10)
                               17                                 (Against GSRV-VTI Management, LLC)
                               18            285.    Plaintiffs repeat and reallege each of the allegations set forth in the previous
                               19     paragraphs.
                               20            286.    In October 2020, Plaintiffs sent GSRV-VTI Management, LLC a letter demanding
                               21     access to certain information and records to which they are entitled under California Corporations
                               22     Code Section 15903.04 and Section 17704.10.
                               23            287.    While counsel for GSRV-VTI Management, LLC promptly replied, the contents of
                               24     the reply were limited to disputing the merits of Plaintiffs’ claims. The letter was not
                               25     accompanied by any of the information or records that Plaintiffs requested, nor did it offer to
                               26     make arrangements for access to such information or records otherwise.
                               27            288.    GSRV-VTI Management, LLC has not provided the information or records that
                               28     Plaintiffs have demanded at any point prior to the filing of this Complaint.

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                                  1          289.    Plaintiffs are entitled to an order enjoining GSRV-VTI Management, LLC to
                                  2   provide access with the information and records they have demanded. Because GSRV-VTI
                                  3   Management, LLC’s failure to comply with these statutory obligations is without justification,
                                  4   Plaintiffs are additionally entitled to an award of reasonable costs and attorney fees incurred in
                                  5   connection with this claim under California Corporations Code Section 17704.10(g).
                                  6

                                  7                                      Count 14 – Failure to Disclose
                                  8                                        (Minn. Stat. Ann. § 302A.461)
                                  9                                                  (Against VTI)
                               10            290.    Plaintiffs repeat and reallege each of the allegations set forth in the previous
                               11     paragraphs.
                               12            291.    In October 2020, Plaintiffs sent VTI a letter demanding access to certain
                               13     information and records to which they are entitled under Minn. Stat. Ann. § 302A.461 as the
                               14     principals of VTI Class B Preferred stock shareholders, the Project Funds.
                               15            292.    VTI has never replied to Plaintiffs’ letter, much less complied with their demand.
                               16     VTI has not offered Plaintiffs any proposed justification for its refusal to comply with their
                               17     demands.
                               18            293.    Plaintiffs are entitled to an order enjoining VTI to give them access to the
                               19     information and records that they have demanded. Under Minn. Stat. Ann. § 302A.467, Plaintiffs
                               20     are additionally entitled to any other equitable relief the Court deems just and reasonable in the
                               21     circumstances, and Plaintiffs respectfully request that the Court award them reasonable expenses
                               22     in connection with this claim, including attorney fees and, as applicable, disbursements.
                               23

                               24                                            PRAYER FOR RELIEF
                               25            WHEREFORE Plaintiffs request that the Court enter judgment against Defendants:
                               26            a.      Awarding Plaintiffs actual and compensatory damages, subject to proof at trial, in
                               27     an amount of no less than $2,700,000, and interest as allowed by law;
                               28            b.      Awarding Plaintiffs punitive and exemplary damages;

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                                  1          c.       Ordering Defendants to pay Plaintiffs restitution and/or to disgorge all their ill-
                                  2   gotten gains;
                                  3          d.       Awarding Plaintiffs actual and reasonable attorney fees and costs of suit under
                                  4   California Code of Civil Procedure Section 1021.5, California Corporations Code Section
                                  5   17704.10(g), Minn. Stat. Ann. § 302A.461, and as allowed under the parties’ agreements;
                                  6          e.       Enjoining Defendants to provide Plaintiffs with an accounting, and establishing a
                                  7   constructive trust on all property held by Defendants and rightfully owned by Plaintiffs;
                                  8          f.       Appropriate declaratory relief;
                                  9          g.       Enjoining Defendants from further fraudulent transfers under Minnesota Law and
                               10     from further acts of unfair competition under California law;
                               11            h.       Imposing statutory fines and penalties;
                               12            i.       Imposing any appropriate multipliers of damages, fines, or penalties; and
                               13            j.       For such other and further relief as the Court may deem just and proper.
                               14

                               15     DATED: February 2, 2021                            By:        DGW KRAMER LLP
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                                  1                                      DEMAND FOR JURY TRIAL
                                  2          Pursuant to Seventh Amendment to the United States Constitution and Rule 38 of the
                                  3   Federal Rules of Civil Procedure, Plaintiffs hereby demand a trial by jury on all issues so triable.
                                  4

                                  5   DATED: February 2, 2021                            By:        DGW KRAMER LLP
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